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UNITED STATES
UNITED                  DISTRICT COURT
            STATES DISTRICT           COURT
SOUTHERN
SOUTHERN DISTRICTDISTRICT OF   OF NEW
                                    NEW YORK
                                           YORK
------------------------------------------------------------------------x
                                                                        x
BRYAN JAEGER,
BRYAN                   individually and
           JAEGER, individually        and on
                                            on behalf
                                                behalf of
                                                        of all
                                                            all         :
persons similarly
persons   similarly situated
                     situated                                           :   No. 1:21-cv-11079
                                                                            No. 1:21-cv-11079
                                                                        :
                           Plaintiffs,
                           Plaintiffs,                                  :
                                                                        :   COMPLAINT
                                                                            COMPLAINT
                  -against-
                  -against-                                             :
                                                                        :
PETER DE
PETER     DE PAOLA
               PAOLA and and DEDE PAOLA
                                   PAOLA TRADING,
                                              TRADING, INC.  INC.       :
                                                                        :
                           Defendants.
                           Defendants.                                  :
------------------------------------------------------------------------x
                                                                        x

                                         I.
                                         I.       INTRODUCTION
                                                  INTRODUCTION

        This is an
        This is an action
                   action pursuant
                          pursuant to
                                   to the
                                      the Employee Retirement Income
                                          Employee Retirement Income Security Act of
                                                                     Security Act of 1974,
                                                                                     1974, as
                                                                                           as

amended ("ERISA"),
amended (“ERISA”), 29
                   29 U.S.C.
                      U.S.C. §
                             § 1001
                               1001 et
                                    et seq.,
                                       seq., in which Plaintiff
                                             in which Plaintiff Bryan
                                                                Bryan Jaeger, individually and
                                                                      Jaeger, individually and

on behalf
on behalf of
          of those
             those similarly
                   similarly situated,
                             situated, asserts
                                       asserts claims of, inter
                                               claims of,       alia, breach
                                                          inter alia, breach of
                                                                             of fiduciary duty
                                                                                fiduciary duty

including the
including the imprudent
              imprudent investment
                        investment of
                                   of pension
                                      pension plan
                                              plan assets.
                                                   assets. Because
                                                           Because Defendants
                                                                   Defendants have
                                                                              have refused to
                                                                                   refused to

provide Plaintiff
provide Plaintiff with
                  with any
                       any information concerning such
                           information concerning such investments, Plaintiff has
                                                       investments, Plaintiff has had
                                                                                  had to
                                                                                      to rely
                                                                                         rely

solely on
solely on publicly
          publicly available
                   available information
                             information and
                                         and what
                                             what may
                                                  may be
                                                      be surmised
                                                         surmised from
                                                                  from that
                                                                       that information. As
                                                                            information. As

such, certain
such,         allegations are
      certain allegations are based
                              based on
                                    on information and belief.
                                       information and belief. Such allegations, Plaintiff
                                                               Such allegations, Plaintiff believes,
                                                                                           believes,

will be
will be borne
        borne out
              out by
                  by discovery.
                     discovery.

                                 II.
                                 II.      JURISDICTION AND
                                          JURISDICTION AND VENUE
                                                           VENUE

          1.
          1.     Subject Matter
                 Subject        Jurisdiction. This
                         Matter Jurisdiction.      Court has
                                              This Court has subject
                                                             subject matter
                                                                     matter jurisdiction
                                                                            jurisdiction over
                                                                                         over

 this action
 this action pursuant
             pursuant to
                      to 28
                         28 U.S.C.
                            U.S.C. §
                                   § 1331
                                     1331 and
                                          and ERISA § 502(e)(1),
                                              ERISA §            29 U.S.C.
                                                      502(e)(1), 29 U.S.C. §
                                                                           § 1132(e)(1).
                                                                             1132(e)(1).

 Plaintiff notes
 Plaintiff notes that
                 that the
                      the Defendants
                          Defendants might
                                     might argue
                                           argue that
                                                 that his
                                                      his claims are subject
                                                          claims are subject to
                                                                             to Financial
                                                                                Financial Industry
                                                                                          Industry

 Regulatory Authority
 Regulatory Authority ("FINRA")
                      (“FINRA”) arbitration
                                arbitration rules.
                                            rules. However,
                                                   However, FINRA's
                                                            FINRA’s arbitration
                                                                    arbitration rules
                                                                                rules

 preclude pursuing
 preclude pursuing relief
                   relief on
                          on other
                             other than
                                   than an
                                        an individual basis —
                                           individual basis – i.e.
                                                              i.e. relief
                                                                   relief for anyone other
                                                                          for anyone other than
                                                                                           than the
                                                                                                the

 claimant is
 claimant    precluded. All
          is precluded. All the
                            the claims alleged in
                                claims alleged in this
                                                  this complaint seek relief
                                                       complaint seek relief on
                                                                             on behalf
                                                                                behalf of
                                                                                       of the
                                                                                          the



                                                         11
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 DePaola Trading,
 DePaola          Inc. Profit
         Trading, Inc. Profit Sharing Plan ("Profit
                              Sharing Plan (“Profit Sharing Plan” or
                                                    Sharing Plan" or "Plan")
                                                                     “Plan”) pursuant
                                                                             pursuant to
                                                                                      to ERISA
                                                                                         ERISA
                         1
 §§ 409(a)
 §§ 409(a) and
           and 502(a)(2)
               502(a)(2)1, , 29
                             29 U.S.C.
                                U.S.C. §§
                                       §§ 1109(a)
                                          1109(a) and
                                                  and 1132(a)(2).
                                                      1132(a)(2). The U.S. Supreme
                                                                  The U.S.         Court has
                                                                           Supreme Court has

 held that
 held that such
           such claims
                claims may
                       may only
                           only be
                                be brought
                                   brought for
                                           for relief
                                               relief on
                                                      on behalf
                                                         behalf of
                                                                of an
                                                                   an ERISA plan as
                                                                      ERISA plan as aa whole.
                                                                                       whole.

 See Mass. Mut.
 See Mass. Mut. Life
                Life Ins.
                     Ins. Co.
                          Co. v. Russell, 473
                              v. Russell, 473 U.S.
                                              U.S. 140
                                                   140 (1985).
                                                       (1985). Thus, because Plaintiffs
                                                               Thus, because Plaintiff’s claims
                                                                                         claims

 herein seek
 herein seek relief only on
             relief only on aa plan-wide
                               plan-wide basis
                                         basis rather
                                               rather than
                                                      than solely
                                                           solely for the named
                                                                  for the named Plaintiff,
                                                                                Plaintiff, FINRA
                                                                                           FINRA

 arbitration is
 arbitration is precluded.
                precluded. As
                           As such
                              such Plaintiffs
                                   Plaintiff’s claims herein must
                                               claims herein must be
                                                                  be litigated in federal
                                                                     litigated in         court, see
                                                                                  federal court, see

 Smith v.
 Smith    Board of
       v. Board of Directors
                   Directors of
                             of Triad Manufacturing, Inc.,
                                Triad Manufacturing, Inc., 13
                                                           13 F.4th
                                                              F.4th 613
                                                                    613 (7th
                                                                        (7th Cir.
                                                                             Cir. 2021);
                                                                                  2021);

 Cedeno
 Cedeno v. Argent Trust
        v. Argent Trust Company,
                        Company, 2021 WL 5087898,
                                 2021 WL          20-cv-9987 (JGK)
                                         5087898, 20-cv-9987 (JGK) (S.D.N.Y.
                                                                   (S.D.N.Y. 11/2/21),
                                                                             11/2/21),

 which has
 which has exclusive jurisdiction over
           exclusive jurisdiction over such
                                       such claims.
                                            claims. ERISA § 502(e)(1),
                                                    ERISA §            29 U.S.C.
                                                            502(e)(1), 29 U.S.C. §
                                                                                 § 1132(e)(1).
                                                                                   1132(e)(1).

         2.
         2.        Personal Jurisdiction. ERISA
                   Personal Jurisdiction. ERISA provides
                                                provides for nationwide service
                                                         for nationwide service of
                                                                                of process.
                                                                                   process.

ERISA § 502(e)(2),
ERISA §            29 U.S.C.
        502(e)(2), 29 U.S.C. §
                             § 1132(e)(2).
                               1132(e)(2). Defendants
                                           Defendants are
                                                      are residents of the
                                                          residents of the United
                                                                           United States or
                                                                                  States or

subject to
subject to service
           service in
                   in the
                      the United
                          United States and this
                                 States and this Court
                                                 Court therefore
                                                       therefore has
                                                                 has personal
                                                                     personal jurisdiction
                                                                              jurisdiction over
                                                                                           over

them.
them.

         3.
         3.        Venue. Venue
                   Venue. Venue is
                                is proper
                                   proper in
                                          in this
                                             this district
                                                  district pursuant
                                                           pursuant to
                                                                    to ERISA § 502(e)(2),
                                                                       ERISA §            29 U.S.C.
                                                                               502(e)(2), 29 U.S.C.

§ 1132(e)(2),
§ 1132(e)(2), because
              because much
                      much of
                           of the
                              the conduct
                                  conduct that
                                          that is
                                               is the
                                                  the subject
                                                      subject of
                                                              of this
                                                                 this lawsuit
                                                                      lawsuit occurred
                                                                              occurred within
                                                                                       within this
                                                                                              this

District, the
District, the Defendant
              Defendant Plan
                        Plan is
                             is administered
                                administered in
                                             in this
                                                this District,
                                                     District, and
                                                               and at
                                                                   at least one Defendant
                                                                      least one Defendant may
                                                                                          may be
                                                                                              be

found in this
found in this District.
              District.

                                               III.
                                               III.      THE
                                                         THE PARTIES
                                                             PARTIES

Named Plaintiff
Named Plaintiff

         4.
         4.        Named Plaintiff
                   Named Plaintiff Bryan
                                   Bryan Jaeger (“Plaintiff”) is
                                         Jaeger ("Plaintiff') is aa natural
                                                                    natural person
                                                                            person and
                                                                                   and aa former
                                                                                          former

employee of
employee of Defendant
            Defendant De
                      De Paola
                         Paola Trading,
                               Trading, Inc. He is
                                        Inc. He is aa participant
                                                      participant in
                                                                  in the
                                                                     the Plan
                                                                         Plan within
                                                                              within the
                                                                                     the meaning
                                                                                         meaning

of ERISA
of       § 3(7),
   ERISA § 3(7), 29
                 29 U.S.C.
                    U.S.C. §
                           § 1002(7).
                             1002(7).


11 ERISA
   ERISA §§ 502(a)(2) grants ERISA
            502(a)(2) grants ERISA plan
                                      plan participants,
                                            participants, such as Plaintiff
                                                          such as Plaintiff herein,
                                                                             herein, authority
                                                                                     authority to
                                                                                               to sue
                                                                                                  sue for the relief
                                                                                                      for the        provided
                                                                                                              relief provided
 by ERISA
by  ERISA § § 409(a),
              409(a), which,
                      which, in turn, sets
                             in turn, sets forth the relief
                                           forth the relief available
                                                            available for
                                                                      for aa breach
                                                                             breach of
                                                                                    of fiduciary
                                                                                       fiduciary duty.
                                                                                                  duty.


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Defendants
Defendants

         5.
         5.        Defendant De
                   Defendant De Paola
                                Paola Trading,
                                      Trading, Inc. (the "Company")
                                               Inc. (the “Company”) is
                                                                    is aa broker-dealer
                                                                          broker-dealer

incorporated in
incorporated    the state
             in the state of
                          of New
                             New York
                                 York the
                                      the principal
                                          principal business
                                                    business of
                                                             of which
                                                                which is
                                                                      is buying
                                                                         buying and
                                                                                and selling
                                                                                    selling

securities on
securities on behalf
              behalf of
                     of its
                        its customers.
                            customers. The
                                       The Company
                                           Company is
                                                   is also
                                                      also the
                                                           the Plan
                                                               Plan Sponsor of the
                                                                    Sponsor of the Profit
                                                                                   Profit Sharing
                                                                                          Sharing

Plan within
Plan within the
            the meaning
                meaning of
                        of ERISA § 3(16)(B),
                           ERISA § 3(16)(B), 29
                                             29 U.S.C.
                                                U.S.C. §
                                                       § 1002(16)(B).
                                                         1002(16)(B). The Company is
                                                                      The Company is named
                                                                                     named

in the
in the Plan
       Plan as
            as its Plan Administrator.
               its Plan Administrator. Plan,
                                       Plan, Art.
                                             Art. 2,
                                                  2, p. 7.2 As
                                                     p. 7.2 As such,
                                                               such, the
                                                                     the Company
                                                                         Company is the Plan
                                                                                 is the Plan

Administrator of
Administrator of the
                 the Plan
                     Plan within
                          within the
                                 the meaning
                                     meaning of
                                             of ERISA
                                                ERISA §
                                                      § 3(16)(A),
                                                        3(16)(A), 29
                                                                  29 U.S.C.
                                                                     U.S.C. §
                                                                            § 1002(16)(A),
                                                                              1002(16)(A),

and aa fiduciary
and              of the
       fiduciary of the Plan
                        Plan within
                             within the
                                    the meaning
                                        meaning of
                                                of ERISA § 3(21)(A),
                                                   ERISA § 3(21)(A), 29
                                                                     29 U.S.C.
                                                                        U.S.C. §
                                                                               § 1002(21)(A).
                                                                                 1002(21)(A).

         6.
         6.        Defendant Peter
                   Defendant Peter De
                                   De Paola
                                      Paola ("De
                                            (“De Paola")
                                                 Paola”) is
                                                         is aa natural
                                                               natural person
                                                                       person who
                                                                              who is
                                                                                  is the
                                                                                     the president
                                                                                         president

and chief
and chief executive
          executive officer
                    officer of
                            of the
                               the Company.
                                   Company. Upon
                                            Upon information and belief,
                                                 information and belief, De
                                                                         De Paola
                                                                            Paola is the sole
                                                                                  is the sole

shareholder of
shareholder of the
               the Company.
                   Company. De
                            De Paola
                               Paola is also the
                                     is also the Trustee of the
                                                 Trustee of the Plan,
                                                                Plan, Plan,
                                                                      Plan, Art.
                                                                            Art. 2,
                                                                                 2, p.
                                                                                    p. 11,
                                                                                       11, the
                                                                                           the

Investment Fiduciary of
Investment Fiduciary of the
                        the Plan,
                            Plan, id., p. 66 and
                                  id., p.    and section
                                                 section 12.02(a),
                                                         12.02(a), and,
                                                                   and, upon
                                                                        upon information and belief,
                                                                             information and belief,

performs the
performs the functions
             functions of
                       of the
                          the Plan
                              Plan Administrator
                                   Administrator on
                                                 on behalf
                                                    behalf of
                                                           of the
                                                              the Company;
                                                                  Company; for
                                                                           for each of these
                                                                               each of these

three reasons
three reasons De
              De Paola
                 Paola is
                       is aa fiduciary of the
                             fiduciary of the Plan
                                              Plan within
                                                   within the
                                                          the meaning
                                                              meaning of
                                                                      of ERISA § 3(21)(A),
                                                                         ERISA § 3(21)(A), 29
                                                                                           29

U.S.C. §
U.S.C.   1002(21)(A).3
       § 1002(21)(A).3

                                                  IV.
                                                  IV.      THE PLAN
                                                           THE PLAN

         7.
         7.        The DePaola Trading,
                   The DePaola Trading, Inc.
                                        Inc. Profit
                                             Profit Sharing Plan is
                                                    Sharing Plan is an
                                                                    an employee benefit plan
                                                                       employee benefit plan within
                                                                                             within

the meaning
the meaning of
            of ERISA § 3(3),
               ERISA § 3(3), 29
                             29 U.S.C.
                                U.S.C. §
                                       § 1002(3),
                                         1002(3), an
                                                  an employee
                                                     employee pension
                                                              pension benefit
                                                                      benefit plan
                                                                              plan within
                                                                                   within the
                                                                                          the

meaning of
meaning of ERISA
           ERISA §
                 § 3(2),
                   3(2), 29
                         29 U.S.C.
                            U.S.C. §
                                   § 1002(2),
                                     1002(2), and
                                              and aa defined
                                                     defined contribution
                                                             contribution plan
                                                                          plan (a/k/a
                                                                               (a/k/a an
                                                                                      an

individual account
individual account plan)
                   plan) within
                         within the
                                the meaning
                                    meaning of
                                            of ERISA § 3(34),
                                               ERISA §        29 U.S.C.
                                                       3(34), 29 U.S.C. §
                                                                        § 1002(34).
                                                                          1002(34).


2
2 All references
  All references to
                  to provisions
                     provisions of  the Plan
                                 of the Plan are
                                             are to
                                                 to the
                                                    the Plan
                                                         Plan as
                                                              as amended
                                                                 amended andand restated
                                                                                restated effective
                                                                                         effective January
                                                                                                   January 1,
                                                                                                           1, 2015,
                                                                                                              2015, which
                                                                                                                     which is,
                                                                                                                           is,
to Plaintiff's
to Plaintiff’s knowledge,
               knowledge, the
                            the operative
                                operative version
                                           version of  the Plan.
                                                    of the Plan. .. Despite
                                                                    Despite Plaintiff
                                                                            Plaintiff having
                                                                                      having requested prior, and
                                                                                             requested prior, and to
                                                                                                                  to the
                                                                                                                     the
extent  they exist,
extent they         subsequent versions
             exist, subsequent  versions of
                                          of the
                                             the Plan,
                                                 Plan, none
                                                        none were
                                                              were provided.
                                                                     provided.
3
3 Plaintiff is
  Plaintiff    unaware if
            is unaware if the
                          the Plan
                              Plan has
                                    has any
                                        any other
                                            other fiduciaries
                                                   fiduciaries such as an
                                                               such as an Investment   Manager or
                                                                          Investment Manager    or aa Third  Party
                                                                                                      Third Party
Administrator. Should
Administrator.           such fiduciaries
                 Should such               exist and
                               fiduciaries exist and have  been involved
                                                      have been  involved in  violations of
                                                                           in violations    ERISA, Plaintiff
                                                                                         of ERISA,   Plaintiff reserves the
                                                                                                               reserves the
right to
right to amend
         amend his
                 his complaint
                     complaint to
                                to add
                                   add such
                                        such fiduciaries as defendants.
                                             fiduciaries as defendants.


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        8.
        8.       The Plan was
                 The Plan was first
                              first established
                                    established as
                                                as of
                                                   of January 1, 2007,
                                                      January 1, 2007, and
                                                                       and was
                                                                           was amended
                                                                               amended and
                                                                                       and

restated effective
restated effective January 1, 2015.
                   January 1, 2015.

        9.
        9.       The Plan provides
                 The Plan provides that
                                   that it
                                        it is
                                           is solely
                                              solely employer
                                                     employer (i.e.
                                                              (i.e. the
                                                                    the Company)
                                                                        Company) contributory, Plan
                                                                                 contributory, Plan

section 4.01(a),
section 4.01(a), although
                 although Plan
                          Plan participants
                               participants may
                                            may make
                                                make rollover
                                                     rollover contributions. Id. section
                                                              contributions. Id. section 4.02.
                                                                                         4.02.

        10.
        10.      While Plan
                 While Plan assets
                            assets are
                                   are pooled
                                       pooled for investment purposes,
                                              for investment purposes, Plan
                                                                       Plan section
                                                                            section 9.02, those
                                                                                    9.02, those

assets are
assets are to
           to be
              be allocated
                 allocated to
                           to the
                              the accounts
                                  accounts of
                                           of the
                                              the Plan's
                                                  Plan’s participants.
                                                         participants. Id.
                                                                       Id. sections
                                                                           sections 9.03 and 9.05(c).
                                                                                    9.03 and 9.05(c).

Thus, adjustments are
Thus, adjustments are made
                      made to
                           to each
                              each participant's
                                   participant’s account
                                                 account based
                                                         based on
                                                               on the
                                                                  the account's
                                                                      account’s allocable
                                                                                allocable share
                                                                                          share

of contributions
of contributions to
                 to the
                    the Plan
                        Plan and
                             and the
                                 the Plan's
                                     Plan’s investment
                                            investment gains,
                                                       gains, losses,
                                                              losses, expenses
                                                                      expenses and
                                                                               and forfeitures. Id.
                                                                                   forfeitures. Id.

section 9.05(c),
section          (d). A
        9.05(c), (d). A participant's
                        participant’s ultimate
                                      ultimate benefit
                                               benefit from
                                                       from the
                                                            the Plan
                                                                Plan will
                                                                     will be
                                                                          be the
                                                                             the amount
                                                                                 amount in
                                                                                        in his/her
                                                                                           his/her

account.
account.

        11.
        11.      Unlike, e.g.,
                 Unlike, e.g., aa 401(k)
                                  401(k) plan
                                         plan in which participants
                                              in which participants typically
                                                                    typically select
                                                                              select the
                                                                                     the investments
                                                                                         investments

for their individual
for their individual accounts
                     accounts from
                              from aa menu
                                      menu of
                                           of options
                                              options offered
                                                      offered by
                                                              by that
                                                                 that plan,
                                                                      plan, all
                                                                            all investment
                                                                                investment

decisions for
decisions     the Profit
          for the Profit Sharing Plan are
                         Sharing Plan are the
                                          the responsibility of De
                                              responsibility of De Paola
                                                                   Paola in
                                                                         in his
                                                                            his capacity
                                                                                capacity as
                                                                                         as the
                                                                                            the

Trustee and/or the
Trustee and/or the Investment Fiduciary. Plan
                   Investment Fiduciary. Plan sections
                                              sections 10.03,
                                                       10.03, 12.02.
                                                              12.02.

        12.
        12.      Plan "[p]articipants
                 Plan “[p]articipants shall
                                      shall not
                                            not have
                                                have the
                                                     the right
                                                         right to
                                                               to direct the investment
                                                                  direct the            of their
                                                                             investment of their

Accounts.” Plan
Accounts." Plan §
                § 10.06(b).
                  10.06(b).

                                            V.
                                            V.      FACTS
                                                    FACTS

        13.
        13.      Plaintiff was
                 Plaintiff was employed by the
                               employed by the Company
                                               Company from
                                                       from September 2007, until
                                                            September 2007, until March,
                                                                                  March,

2020.
2020.

        14.
        14.      At the
                 At the time
                        time of
                             of the
                                the termination
                                    termination of
                                                of his
                                                   his employment,
                                                       employment, Plaintiff
                                                                   Plaintiff was
                                                                             was 100%
                                                                                 100% vested
                                                                                      vested in
                                                                                             in

his Plan
his Plan account.
         account.




                                                   4
                                                   4
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       15.
       15.     “A Participant
               "A Participant shall
                              shall become
                                    become entitled
                                           entitled to
                                                    to receive
                                                       receive his
                                                               his vested
                                                                   vested Account
                                                                          Account pursuant
                                                                                  pursuant

to Section
to Section 7.02 following the
           7.02 following the date
                              date he
                                   he has
                                      has aa Termination
                                             Termination of
                                                         of Employment.” Plan section
                                                            Employment." Plan section

7.01(e).
7.01(e).

       16.
       16.     Plan section
               Plan section 7.02(a)
                            7.02(a) provides
                                    provides in
                                             in pertinent
                                                pertinent part:
                                                          part:

                       If
                       If aa Participant's
                             Participant's Account
                                            Account balance
                                                      balance becomes
                                                               becomes
               distributable pursuant
               distributable    pursuant to
                                         to Section   7.01 for
                                             Section 7.01   for any
                                                                any reason
                                                                    reason other
                                                                           other
               than death,
               than  death, payment
                              payment of
                                       of his
                                           his vested
                                               vested Account
                                                       Account shall
                                                                 shall commence
                                                                       commence asas
               soon as
               soon  as administratively
                         administratively feasible
                                             feasible with
                                                      with aa final
                                                              final payment
                                                                    payment made
                                                                             made
               consisting of
               consisting    of any
                                any allocations
                                    allocations occurring
                                                 occurring after
                                                             after such
                                                                   such Termination
                                                                        Termination
               of Employment.
               of Employment. Such       Participant’s benefit
                                   Such Participant's    benefit shall
                                                                 shall be
                                                                       be payable,
                                                                          payable,
               in cash,
               in cash, in
                         in aa lump
                               lump sum
                                     sum payment.
                                          payment. No No distribution
                                                          distribution shall
                                                                       shall be
                                                                             be
               made if
               made   if the
                         the Participant
                              Participant is
                                           is rehired
                                              rehired by
                                                      by the
                                                          the Company
                                                              Company before
                                                                         before
               payments commence.
               payments     commence.

       17.
       17.     Plaintiff was
               Plaintiff was thus
                             thus entitled to receive
                                  entitled to         his account
                                              receive his account balance
                                                                  balance upon
                                                                          upon the
                                                                               the termination
                                                                                   termination of
                                                                                               of

his employment.
his employment.

       18.
       18.     Plan section
               Plan section 12.07(a)
                            12.07(a) provides:
                                     provides:

                        A Participant
                        A  Participant or
                                        or any
                                            any other
                                                other person
                                                      person entitled
                                                              entitled to
                                                                       to benefits
                                                                          benefits from
                                                                                    from
               the Plan
               the Plan (a(a "Claimant")
                             “Claimant”) maymay apply
                                                 apply for such benefits
                                                       for such  benefits by
                                                                           by completing
                                                                              completing
               and filing
               and  filing aa claim
                              claim with
                                     with the
                                           the Plan
                                               Plan Administrator.
                                                    Administrator. Any
                                                                     Any such
                                                                          such claim
                                                                                claim
               shall be
               shall be in   writing and
                         in writing   and shall
                                          shall include all information   and evidence
                                                include all information and evidence
               that the
               that the Plan
                         Plan Administrator
                               Administrator deems     necessary to
                                                deems necessary   to properly
                                                                     properly evaluate
                                                                               evaluate
               the merit
               the merit ofof and
                              and to
                                   to make
                                      make any
                                             any necessary
                                                 necessary determinations
                                                            determinations onon aa claim
                                                                                   claim
               for benefits. The
               for benefits.        Plan Administrator
                               The Plan  Administrator may
                                                         may request   any additional
                                                               request any  additional
               information necessary
               information    necessary toto evaluate
                                             evaluate the
                                                      the claim.
                                                          claim.

       19.
       19.     A participant
               A participant who
                             who wants
                                 wants to
                                       to apply
                                          apply for benefits must,
                                                for benefits must, therefore,
                                                                   therefore, apply
                                                                              apply in
                                                                                    in accordance
                                                                                       accordance

with Plan
with Plan section
          section 12.07(a).
                  12.07(a). However,
                            However, aa participant
                                        participant must
                                                    must rely
                                                         rely on
                                                              on the
                                                                 the Plan
                                                                     Plan Administrator
                                                                          Administrator in order
                                                                                        in order

to file
to file aa claim
           claim "in
                 “in writing."
                     writing.” Otherwise
                               Otherwise the
                                         the participant
                                             participant has
                                                         has no
                                                             no way
                                                                way of
                                                                    of knowing
                                                                       knowing what
                                                                               what "information
                                                                                    “information

and evidence
and evidence .. .. .. the
                      the Plan
                          Plan Administrator
                               Administrator deems
                                             deems necessary
                                                   necessary to
                                                             to properly
                                                                properly evaluate the merit
                                                                         evaluate the merit of
                                                                                            of and
                                                                                               and to
                                                                                                   to

make any
make any necessary
         necessary determinations
                   determinations on
                                  on aa claim
                                        claim for benefits.”
                                              for benefits."

       20.
       20.     Upon the
               Upon the termination
                        termination of
                                    of his
                                       his employment, Plaintiff therefore
                                           employment, Plaintiff therefore contacted
                                                                           contacted De
                                                                                     De Paola
                                                                                        Paola

with respect
with respect to
             to filing
                filing aa claim
                          claim for
                                for his
                                    his account
                                        account balance.
                                                balance.



                                                   5
                                                   5
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       21.
       21.      De Paola
                De Paola stated
                         stated that
                                that there
                                     there was
                                           was aa claim
                                                  claim form that needed
                                                        form that needed to
                                                                         to be
                                                                            be completed
                                                                               completed and
                                                                                         and

submitted.
submitted.

       22.
       22.      When Plaintiff
                When Plaintiff requested
                               requested that
                                         that De
                                              De Paola
                                                 Paola send
                                                       send him
                                                            him the
                                                                the form,
                                                                    form, De
                                                                          De Paola
                                                                             Paola was
                                                                                   was evasive,
                                                                                       evasive,

said things
said things were
            were complicated
                 complicated and
                             and that
                                 that it
                                      it would
                                         would take
                                               take time.
                                                    time.

       23.
       23.      Despite repeated
                Despite repeated communications
                                 communications with
                                                with De
                                                     De Paola
                                                        Paola about
                                                              about the
                                                                    the claim
                                                                        claim form, De Paola
                                                                              form, De Paola

would not
would not provide
          provide one
                  one to
                      to Plaintiff.
                         Plaintiff.

       24.
       24.      Plaintiff then
                Plaintiff then retained
                               retained counsel
                                        counsel who
                                                who sent
                                                    sent aa letter to the
                                                            letter to the Company
                                                                          Company on
                                                                                  on August
                                                                                     August 17,
                                                                                            17,

2020, seeking
2020, seeking various
              various documents and information
                      documents and information inter alia pursuant
                                                inter alia pursuant to
                                                                    to ERISA § 104(b)(4),
                                                                       ERISA § 104(b)(4), 29
                                                                                          29

U.S.C. §
U.S.C. § 1024(b)(4),
         1024(b)(4), including
                     including the
                               the claim
                                   claim form
                                         form and
                                              and certain
                                                  certain financial
                                                          financial information.
                                                                    information. The letter was
                                                                                 The letter was

sent by
sent by certified mail, return
        certified mail, return receipt
                               receipt requested
                                       requested (as
                                                 (as well
                                                     well as
                                                          as regular
                                                             regular mail)
                                                                     mail) and
                                                                           and was
                                                                               was delivered
                                                                                   delivered on
                                                                                             on

August 21,
August 21, 2020.
           2020.

       25.
       25.      When no
                When no response
                        response to
                                 to the
                                    the letter
                                        letter was
                                               was received,
                                                   received, aa follow-up
                                                                follow-up letter,
                                                                          letter, which
                                                                                  which enclosed
                                                                                        enclosed

the August
the August 17,
           17, 2020,
               2020, letter, was sent
                     letter, was sent to
                                      to the
                                         the Company
                                             Company on
                                                     on October
                                                        October 7, 2020, by
                                                                7, 2020, by certified mail,
                                                                            certified mail,

return receipt
return receipt requested
               requested (as
                         (as well
                             well as
                                  as regular mail) and
                                     regular mail) and was
                                                       was delivered
                                                           delivered on
                                                                     on October
                                                                        October 13,
                                                                                13, 2020.
                                                                                    2020. This
                                                                                          This

letter (with the
letter (with the enclosure)
                 enclosure) was
                            was also
                                also sent
                                     sent to
                                          to the
                                             the Company's
                                                 Company’s email
                                                           email address.
                                                                 address. No
                                                                          No response was ever
                                                                             response was ever

received.
received.

       26.
       26.      Plaintiff then
                Plaintiff then contacted
                               contacted the
                                         the United
                                             United States Department of
                                                    States Department of Labor (“DOL”). A
                                                                         Labor ("DOL"). A DOL
                                                                                          DOL

investigator then
investigator then contacted
                  contacted De
                            De Paola
                               Paola who
                                     who then
                                         then promptly
                                              promptly provided
                                                       provided Plaintiff
                                                                Plaintiff with
                                                                          with aa claim
                                                                                  claim form.
                                                                                        form.

       27.
       27.      Plaintiff received
                Plaintiff received aa distribution from the
                                      distribution from the Plan
                                                            Plan in the amount
                                                                 in the amount of
                                                                               of $90,306.25
                                                                                  $90,306.25 in
                                                                                             in

January 2021, shortly
January 2021, shortly after
                      after he
                            he submitted
                               submitted the
                                         the completed
                                             completed claim
                                                       claim form. In other
                                                             form. In other words,
                                                                            words, it
                                                                                   it took
                                                                                      took from
                                                                                           from

March 2020
March 2020 when
           when his
                his employment
                    employment terminated
                               terminated until
                                          until January 2021 for
                                                January 2021     Plaintiff to
                                                             for Plaintiff to receive
                                                                              receive aa

distribution from
distribution      the Plan.
             from the Plan.

       28.
       28.      Subsequently, Plaintiff’s counsel
                Subsequently, Plaintiff's counsel contacted
                                                  contacted the
                                                            the DOL
                                                                DOL investigator
                                                                    investigator who
                                                                                 who stated
                                                                                     stated that:
                                                                                            that:




                                                 6
                                                 6
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                a.
                a.       aa number
                            number of
                                   of participants
                                      participants in
                                                   in the
                                                      the Plan
                                                          Plan had contacted him
                                                               had contacted him because
                                                                                 because they
                                                                                         they were
                                                                                              were

not getting
not getting their
            their benefits;
                  benefits;

               b.
               b.        De Paola
                         De Paola was
                                  was initially
                                      initially cooperative which is
                                                cooperative which    why Plaintiff
                                                                  is why Plaintiff received
                                                                                   received aa

distribution, however
distribution, however De
                      De Paola
                         Paola later became uncooperative
                               later became uncooperative and
                                                          and did
                                                              did not
                                                                  not pay
                                                                      pay benefits
                                                                          benefits to
                                                                                   to some
                                                                                      some

participants who
participants who were
                 were entitled
                      entitled to
                               to them;
                                  them;

                c.
                c.       the DOL
                         the DOL investigator
                                 investigator warned
                                              warned De
                                                     De Paola
                                                        Paola that
                                                              that if these issues
                                                                   if these issues were
                                                                                   were not
                                                                                        not

resolved, he
resolved, he would
             would have
                   have to
                        to refer
                           refer the
                                 the matter
                                     matter to
                                            to the
                                               the DOL
                                                   DOL investigations
                                                       investigations unit
                                                                      unit which
                                                                           which would
                                                                                 would open
                                                                                       open aa

formal investigation;
formal investigation;

                d.
                d.       De Paola
                         De Paola then
                                  then stopped
                                       stopped communicating with the
                                               communicating with the DOL
                                                                      DOL investigator;
                                                                          investigator; and
                                                                                        and

                e.
                e.       A formal
                         A formal investigation
                                  investigation was
                                                was then
                                                    then opened.
                                                         opened.

        29.
        29.     Plaintiff’s counsel
                Plaintiff's         then contacted
                            counsel then contacted the
                                                   the DOL
                                                       DOL attorney
                                                           attorney in charge of
                                                                    in charge of the
                                                                                 the investigation
                                                                                     investigation

and was
and was informed that the
        informed that the investigation was ongoing
                          investigation was ongoing and
                                                    and that
                                                        that De
                                                             De Paola
                                                                Paola continued
                                                                      continued to
                                                                                to be
                                                                                   be

uncooperative. For
uncooperative. For example,
                   example, De
                            De Paola
                               Paola had
                                     had been
                                         been requested
                                              requested to
                                                        to retain
                                                           retain an
                                                                  an actuary
                                                                     actuary to
                                                                             to insure
                                                                                insure that
                                                                                       that Plan
                                                                                            Plan

participants were
participants were receiving
                  receiving the
                            the correct amount of
                                correct amount of benefits
                                                  benefits but
                                                           but De
                                                               De Paola
                                                                  Paola had
                                                                        had refused.
                                                                            refused.

                        VI.
                        VI.     ERISA REQUIREMENTS AND
                                ERISA REQUIREMENTS AND DEFENDANTS'
                                                       DEFENDANTS’
                                 FAILURE
                                 FAILURE TO COMPLY WITH
                                         TO COMPLY WITH THEM
                                                        THEM

       A.
       A.       Reporting and
                Reporting and Disclosure
                              Disclosure

        30.
        30.     ERISA §§ 101-111,
                ERISA §§ 101-111, 29
                                  29 U.S.C.
                                     U.S.C. §§
                                            §§ 1021-1031,
                                               1021-1031, set
                                                          set forth that Act's
                                                              forth that Act’s Reporting
                                                                               Reporting and
                                                                                         and

Disclosure provisions.
Disclosure provisions.

        31.
        31.     One such
                One such provision
                         provision requires
                                   requires plans
                                            plans to
                                                  to file
                                                     file an
                                                          an annual
                                                             annual report
                                                                    report with
                                                                           with the
                                                                                the DOL.
                                                                                    DOL. ERISA
                                                                                         ERISA §
                                                                                               §

103, 29
103, 29 U.S.C.
        U.S.C. §
               § 1023.
                 1023. The
                       The report
                           report is
                                  is filed on aa form
                                     filed on         titled "Annual
                                                 form titled “Annual Return/Report
                                                                     Return/Report of
                                                                                   of Employee
                                                                                      Employee

Benefit Plan"
Benefit Plan” and
              and is
                  is typically
                     typically referred
                               referred to
                                        to as
                                           as Form
                                              Form 5500.
                                                   5500. These forms are
                                                         These forms are filed
                                                                         filed electronically
                                                                               electronically and
                                                                                              and

are available
are available on
              on aa web
                    web site
                        site maintained
                             maintained by
                                        by the
                                           the DOL.
                                               DOL. See https://www.efast.dol.gov/5500search/.
                                                    See https://www.efast.dol.gov/5500search/.




                                                   7
                                                   7
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         32.
         32.      Among other
                  Among other things,
                              things, aa Form
                                         Form 5500 is to
                                              5500 is to be
                                                         be accompanied
                                                            accompanied by
                                                                        by aa "financial
                                                                              “financial statement
                                                                                         statement

and opinion"
and opinion” from an "independent
             from an “independent qualified
                                  qualified accountant."
                                            accountant.” See
                                                         See ERISA § 103(a)(1)(B),
                                                             ERISA § 103(a)(1)(B), (3),
                                                                                   (3), 29
                                                                                        29

U.S.C. §
U.S.C. § 1023(a)(1)(B),
         1023(a)(1)(B), (3).
                        (3). The financial statement
                             The financial statement is
                                                     is required
                                                        required to
                                                                 to include
                                                                    include "a
                                                                            “a statement
                                                                               statement of
                                                                                         of the
                                                                                            the

assets and
assets and liabilities of the
           liabilities of the plan
                              plan aggregated
                                   aggregated by
                                              by categories
                                                 categories and
                                                            and valued
                                                                valued at
                                                                       at their
                                                                          their current
                                                                                current value,
                                                                                        value, and
                                                                                               and

the same
the same data displayed in
         data displayed    comparative form
                        in comparative      for the
                                       form for the end of the
                                                    end of the previous
                                                               previous fiscal year of
                                                                        fiscal year of the
                                                                                       the

plan[.]” ERISA
plan[.]"       § 103(b)(3)(A),
         ERISA § 103(b)(3)(A), 29
                               29 U.S.C.
                                  U.S.C. §
                                         § 1023(b)(3)(A).
                                           1023(b)(3)(A).

         33.
         33.      However, aa simplified
                  However,    simplified annual
                                         annual report
                                                report may
                                                       may be
                                                           be filed
                                                              filed if
                                                                    if aa plan
                                                                          plan has
                                                                               has fewer than 100
                                                                                   fewer than 100

participants. ERISA
participants.       § 104(a)(2)(A)(i),
              ERISA § 104(a)(2)(A)(i), 29
                                       29 U.S.C.
                                          U.S.C. §
                                                 § 1024(a)(2)(A)(i),
                                                   1024(a)(2)(A)(i), 29
                                                                     29 C.F.R.
                                                                        C.F.R. §
                                                                               § 2520.104-41.
                                                                                 2520.104-41.

The Profit Sharing
The Profit         Plan, according
           Sharing Plan, according to
                                   to its
                                      its filed Forms 5500,
                                          filed Forms       has always
                                                      5500, has always had
                                                                       had fewer than 100
                                                                           fewer than 100

participants. 29
participants. 29 C.F.R.
                 C.F.R. §
                        § 2520.104-46
                          2520.104-46 allows
                                      allows such
                                             such plans
                                                  plans to
                                                        to forgo filing the
                                                           forgo filing the financial statement
                                                                            financial statement

required pursuant
required pursuant to
                  to ERISA § 103(a)(1)(B),
                     ERISA § 103(a)(1)(B), (3),
                                           (3), and
                                                and the
                                                    the Plan's
                                                        Plan’s Forms
                                                               Forms 5500 confirm that
                                                                     5500 confirm that it
                                                                                       it was
                                                                                          was

not filing
not filing that
           that financial
                financial statement.
                          statement.

         34.
         34.      Plans are
                  Plans are also
                            also required
                                 required to
                                          to provide
                                             provide participants
                                                     participants with
                                                                  with aa summary
                                                                          summary annual
                                                                                  annual report
                                                                                         report

(“SAR”) each
("SAR") each year.
             year. 29
                   29 C.F.R.
                      C.F.R. §
                             § 2520.104b-10.
                               2520.104b-10. As
                                             As the
                                                the name
                                                    name suggests,
                                                         suggests, the
                                                                   the SAR
                                                                       SAR contains only aa
                                                                           contains only

summary of
summary of the
           the information
               information in
                           in the
                              the Form
                                  Form 5500, and aa very
                                       5500, and    very small
                                                         small summary
                                                               summary at
                                                                       at that,
                                                                          that, consisting
                                                                                consisting

essentially of
essentially of the
               the amounts
                   amounts of
                           of the
                              the plan's
                                  plan’s gains,
                                         gains, losses,
                                                losses, expenses,
                                                        expenses, assets
                                                                  assets and
                                                                         and liabilities.
                                                                             liabilities.

Importantly, the SAR
Importantly, the     contains no
                 SAR contains no information
                                 information with
                                             with respect
                                                  respect to
                                                          to the
                                                             the type
                                                                 type of
                                                                      of investments
                                                                         investments the
                                                                                     the plan
                                                                                         plan

has held
has held or
         or currently holds.
            currently holds.

         35.
         35.      However, pursuant
                  However, pursuant to
                                    to 29
                                       29 C.F.R.
                                          C.F.R. §
                                                 § 2520.104-46(b),
                                                   2520.104-46(b), if
                                                                   if aa plan
                                                                         plan has
                                                                              has fewer than 100
                                                                                  fewer than 100

participants and
participants and has
                 has adopted
                     adopted the
                             the simplified
                                 simplified reporting procedures discussed
                                            reporting procedures discussed above,
                                                                           above, as
                                                                                  as has
                                                                                     has the
                                                                                         the

Profit Sharing
Profit         Plan, its
       Sharing Plan, its SAR must, inter
                         SAR must,       alia: (1)
                                   inter alia: (1) include the name
                                                   include the name of
                                                                    of any
                                                                       any regulated
                                                                           regulated financial
                                                                                     fmancial

institution holding
institution holding qualifying
                    qualifying plan assets;4 (2)
                               plan assets;4     inform participants
                                             (2) inform participants of
                                                                     of the
                                                                        the name
                                                                            name of
                                                                                 of that
                                                                                    that institution;
                                                                                         institution;


4
4The precise definition
 The precise definition of
                        of qualifying plan assets
                           qualifying plan assets is not pertinent
                                                  is not pertinent to
                                                                   to these
                                                                      these allegations
                                                                            allegations but
                                                                                        but will
                                                                                            will be
                                                                                                 be supplied
                                                                                                    supplied if
                                                                                                             if and
                                                                                                                and when
                                                                                                                    when
necessary.
necessary.


                                                           8
                                                           8
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and (3)
and (3) must
        must inform
             inform participants
                    participants of
                                 of their
                                    their right to obtain
                                          right to obtain from
                                                          from the
                                                               the plan
                                                                   plan all
                                                                        all "statements
                                                                            “statements received
                                                                                        received

from the regulated
from the regulated financial
                   financial institutions describing the
                             institutions describing the qualifying
                                                         qualifying plan
                                                                    plan assets."
                                                                         assets.”

        36.
        36.     The Plan’s 2015
                The Plan's 2015 SAR,
                                SAR, for example, lists
                                     for example, lists Janney Montgomery Scott,
                                                        Janney Montgomery Scott, LLC as such
                                                                                 LLC as such

aa regulated
   regulated financial
             financial institution
                       institution which
                                   which held
                                         held $571,136.16 in qualifying
                                              $571,136.16 in qualifying plan
                                                                        plan assets.
                                                                             assets. That
                                                                                     That SAR also
                                                                                          SAR also

says participants
says participants have
                  have the
                       the right to receive
                           right to receive copies
                                            copies of
                                                   of Janney Montgomery Scott,
                                                      Janney Montgomery Scott, LLC’s statements
                                                                               LLC's statements

and should
and should contact De Paola,
           contact De Paola, as
                             as "a
                                “a representative
                                   representative of
                                                  of the
                                                     the plan
                                                         plan administrator,"
                                                              administrator,” to
                                                                              to obtain
                                                                                 obtain copies.
                                                                                        copies.

        37.
        37.     Therefore, when Plaintiff,
                Therefore, when Plaintiff, through
                                           through counsel,
                                                   counsel, requested
                                                            requested financial
                                                                      financial information
                                                                                information from
                                                                                            from

Defendants, this
Defendants, this information should have
                 information should have been
                                         been provided
                                              provided as
                                                       as should
                                                          should other
                                                                 other material
                                                                       material that
                                                                                that was
                                                                                     was

requested such
requested such as
               as the
                  the extant version of
                      extant version of the
                                        the Plan
                                            Plan document
                                                 document and
                                                          and the
                                                              the most
                                                                  most recent
                                                                       recent Form
                                                                              Form 5500,
                                                                                   5500, SAR
                                                                                         SAR

and summary
and summary plan
            plan description which are
                 description which are required to be
                                       required to be provided
                                                      provided by
                                                               by ERISA § 104(b)(4),
                                                                  ERISA § 104(b)(4), 29
                                                                                     29

U.S.C. §
U.S.C. § 1124(b)(4).
         1124(b)(4).

        B.
        B.      Fiduciary Responsibility
                Fiduciary Responsibility

        38.
        38.     Every
                Every ERISA plan is
                      ERISA plan    required to
                                 is required to exist
                                                exist pursuant
                                                      pursuant to
                                                               to aa written
                                                                     written plan
                                                                             plan document which,
                                                                                  document which,

among other
among other things,
            things, provides
                    provides for one or
                             for one or more
                                        more named
                                             named fiduciaries
                                                   fiduciaries to
                                                               to run
                                                                  run the
                                                                      the plan.
                                                                          plan. ERISA §
                                                                                ERISA §

402(a)(1), (2),
402(a)(1), (2), 29
                29 U.S.C.
                   U.S.C. §
                          § 1102(a)(1),
                            1102(a)(1), (2).
                                        (2). For
                                             For the
                                                 the Profit
                                                     Profit Sharing Plan, upon
                                                            Sharing Plan,      information and
                                                                          upon information and

belief, the
belief, the named
            named fiduciaries
                  fiduciaries are
                              are the
                                  the Defendants.
                                      Defendants.

        39.
        39.     Also, the
                Also, the plan
                          plan administrator
                               administrator of
                                             of an
                                                an ERISA plan is
                                                   ERISA plan    always aa fiduciary.
                                                              is always               29 C.F.R.
                                                                           fiduciary. 29 C.F.R. §
                                                                                                §

2509-75-8 D-3
2509-75-8 D-3 Q&A.
              Q&A. The Company is
                   The Company is the
                                  the Plan
                                      Plan Administrator
                                           Administrator of
                                                         of the
                                                            the Plan
                                                                Plan and
                                                                     and as
                                                                         as such,
                                                                            such, and
                                                                                  and as
                                                                                      as

alleged above,
alleged above, is
               is aa fiduciary.
                     fiduciary.

        40.
        40.     As per
                As per the
                       the Plan's
                           Plan’s SAR, De Paola
                                  SAR, De Paola represents
                                                represents the
                                                           the Company
                                                               Company as
                                                                       as Plan
                                                                          Plan Administrator
                                                                               Administrator

and is
and is aa fiduciary
          fiduciary in that capacity.
                    in that capacity. He
                                      He is
                                         is also
                                            also aa fiduciary because he
                                                    fiduciary because he is
                                                                         is in
                                                                            in charge
                                                                               charge of
                                                                                      of Plan
                                                                                         Plan

investing.
investing.

        41.
        41.     ERISA § 404(a),
                ERISA § 404(a), 29
                                29 U.S.C.
                                   U.S.C. §
                                          § 1104(a),
                                            1104(a), codifies
                                                     codifies the
                                                              the duties
                                                                  duties of
                                                                         of plan
                                                                            plan fiduciaries:
                                                                                 fiduciaries:




                                                   99
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               (a)(1) PRUDENT
               (a)(1) PRUDENT MAN STANDARD OF CARE -- Subject Subject to to sections
                                                                            sections
               1103(c) and
               1103(c)  and (d),
                            (d), 1342,
                                 1342, and
                                       and 1344
                                            1344 of
                                                  of this
                                                     this title,
                                                          title, aa fiduciary  shall
                                                                    fiduciary shall
               discharge his
               discharge  his duties with respect
                              duties with         to aa plan
                                          respect to    plan solely
                                                              solely in   the interest
                                                                       in the          of
                                                                              interest of
               the participants
               the participants and
                                and beneficiaries
                                     beneficiaries and—
                                                   and—

                       (A) for
                       (A) for the
                               the exclusive
                                    exclusive purpose
                                              purpose of:
                                                       of:
                               (i) providing
                               (i) providing benefits
                                             benefits to
                                                      to participants
                                                         participants and
                                                                      and their
                                                                          their
                       beneficiaries;  and
                       beneficiaries; and
                               (ii) defraying
                               (ii) defraying reasonable   expenses of
                                              reasonable expenses   of administering
                                                                       administering
                       the plan;
                       the plan;

                       (B) with
                       (B) with the
                                 the care,
                                      care, skill,
                                             skill, prudence,
                                                    prudence, and
                                                               and diligence
                                                                    diligence under
                                                                              under the the
               circumstances then
               circumstances   then prevailing
                                      prevailing that
                                                   that aa prudent
                                                           prudent man
                                                                   man acting
                                                                        acting in
                                                                                in aa like
                                                                                      like
               capacity and
               capacity and familiar
                             familiar with
                                         with such
                                              such matters
                                                     matters would
                                                              would use
                                                                     use in the conduct
                                                                         in the  conduct
               of an
               of an enterprise
                     enterprise of
                                 of aa like
                                       like character
                                            character and
                                                        and with
                                                             with like aims;
                                                                  like aims;

                        (C) by
                       (C)  by diversifying  the investments
                               diversifying the  investments of
                                                             of the
                                                                the plan
                                                                    plan so
                                                                         so as
                                                                            as to
                                                                               to
               minimize the
               minimize   the risk
                              risk of
                                   of large losses, unless
                                      large losses, unless under
                                                           under the
                                                                 the circumstances it
                                                                     circumstances it
               is clearly
               is clearly prudent
                          prudent not
                                   not to
                                       to do so; and
                                          do so; and

                       (D) in
                      (D)  in accordance
                              accordance with
                                          with the
                                                the documents
                                                    documents and
                                                               and instruments
                                                                   instruments
               governing the
               governing  the plan
                              plan insofar
                                   insofar as
                                           as such
                                              such documents   and instruments
                                                    documents and  instruments are
                                                                               are
               consistent with
               consistent with the
                               the provisions
                                   provisions of
                                               of this
                                                  this subchapter
                                                       subchapter and
                                                                  and subchapter
                                                                      subchapter
               III.
               III.

               (2) In
               (2)    the case
                   In the case ofof an
                                    an eligible
                                       eligible individual      account plan
                                                  individual account     plan (as
                                                                               (as defined
                                                                                   defined
               in section
               in section 1107(d)(3)
                           1107(d)(3) of of this
                                            this title),
                                                  title), the
                                                          the diversification
                                                               diversification requirement
                                                                                requirement
               of paragraph
               of paragraph (1)(C)
                               (1)(C) and
                                       and the
                                            the prudence
                                                 prudence requirement
                                                              requirement (only
                                                                            (only to
                                                                                   to the
                                                                                      the
               extent that
               extent  that it
                            it requires
                               requires diversification)
                                         diversification) of of paragraph
                                                                 paragraph (1)(B)
                                                                             (1)(B) is  not
                                                                                     is not
               violated by
               violated  by acquisition
                             acquisition oror holding
                                              holding of  of qualifying
                                                             qualifying employer
                                                                         employer real
                                                                                     real
               property or
               property  or qualifying
                             qualifying employer
                                          employer securities
                                                       securities (as
                                                                   (as defined
                                                                        defined in
                                                                                 in section
                                                                                    section
               1107(d)(4) and
               1107(d)(4)    and (5)
                                  (5) of
                                      of this
                                         this title).
                                              title).

       42.
       42.     Upon information
               Upon information and
                                and belief,
                                    belief, the
                                            the Plan
                                                Plan is an eligible
                                                     is an eligible individual account plan.
                                                                    individual account plan. As
                                                                                             As

such, Defendants
such, Defendants must
                 must comply with the
                      comply with the provisions
                                      provisions of
                                                 of ERISA § 404(a)
                                                    ERISA § 404(a) insofar
                                                                   insofar as
                                                                           as they
                                                                              they require
                                                                                   require

prudence, loyalty
prudence,         and compliance
          loyalty and compliance with
                                 with Plan
                                      Plan documents
                                           documents to
                                                     to the
                                                        the extent
                                                            extent they
                                                                   they are
                                                                        are consistent with
                                                                            consistent with

ERISA. Defendants must
ERISA. Defendants must also
                       also comply with ERISA
                            comply with       § 404(a)'s
                                        ERISA § 404(a)’s diversification
                                                         diversification requirements
                                                                         requirements

except to
except to the
          the extent
              extent the
                     the Plan
                         Plan holds “qualifying employer
                              holds "qualifying          real property
                                                employer real property or
                                                                       or qualifying
                                                                          qualifying employer
                                                                                     employer

securities[.]” Upon
securities[.]" Upon information and belief,
                    information and belief, the
                                            the Plan
                                                Plan has
                                                     has never
                                                         never held
                                                               held and
                                                                    and currently
                                                                        currently does
                                                                                  does not
                                                                                       not hold
                                                                                           hold

such assets
such assets and,
            and, thus,
                 thus, must
                       must fully
                            fully comply
                                  comply with
                                         with ERISA § 404(a)'s
                                              ERISA § 404(a)’s diversification
                                                               diversification requirement.
                                                                               requirement.



                                                    10
                                                    10
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             43.
             43.            As stated,
                            As stated, despite
                                       despite having
                                               having been
                                                      been requested
                                                           requested to do so,
                                                                     to do so, Defendants
                                                                               Defendants refused to provide
                                                                                          refused to provide

Plaintiff with
Plaintiff with any
               any information
                   information about
                               about the
                                     the Plan's
                                         Plan’s investments.
                                                investments.

             44.
             44.           Nonetheless, certain
                           Nonetheless, certain information
                                                information may
                                                            may be
                                                                be gleaned
                                                                   gleaned from the Plan's
                                                                           from the Plan’s Forms
                                                                                           Forms 5500.
                                                                                                 5500.

             45.
             45.            The following
                            The           chart ("Chart
                                following chart (“Chart 1")
                                                        1”) provides
                                                            provides information
                                                                     information from the Plan's
                                                                                 from the Plan’s Forms
                                                                                                 Forms 5500
                                                                                                       5500

for
for each of the
    each of the Plan's
                Plan’s years
                       years from 2009 through
                             from 2009         20195 as
                                       through 20195 as well
                                                        well as
                                                             as aa comparison
                                                                   comparison to
                                                                              to the
                                                                                 the investment
                                                                                     investment

performance of
performance of three
               three Vanguard funds:66
                     Vanguard funds:

                                                                                      CHART 11
                                                                                      CHART

                 Participants    Participants at   Assets at       Assets at   Employer               Expenses   Benefits paid   Crain/Lo   Vanguard Total   Vanguard S&P     Vanguard STAR
                 at start of     year end          start of year   year end    Contributions +                                              Stock Waiter     500 Index Fund   Fund'
                 year (Active    (Active and                                   other income'                                                Index Fund       Admiral,         VGSTX)
                 and those       those who                                                                                                  Admiral'         (VFIAX)          Gain or Loss*
                 who have left   have lel with                                                                                              (VTSAX)          Crain or Loss'
                 with            balances)                                                                                                  Gain or Loss°
                 balances)
    2007         No Form
                 5500
    2038         No Form
                 5500
    2009         8               N                 100,858         L72,946     65,165 + 6923          0          0               6.86%      28.83%           26.62%           24.85%
    2010         8                                 172,946         243,608     68,682 + 3,041         0          1061            1.75%      1726%            15.05%           I1.70%

    2011         6                                 243.608         292.948     67.079+ 17.7399        0          0               5.7%       1.08%            208%             037%
    2012         6                                 292.948         406302      64.004+ 58522          0          9.172           19.97%     16.38%           15.96%           1339%
    2013         6                                 406,302         492,423     61,446 + 32,345        0          7,670           1.88%      3332%            32.33%           17.80%
    2014         7                 ,               492.423         570.194     57,805 + 19,966        0          0               4.05%      12.56%           13.64%           7.35%
    2015         9               ID                570.194         662.667     91341 + 1,132          0          0               0.19%      0.39%            1.36%            0.15%
    2016         10              1                 662,667         760,254     99,375 + 2,714         0          4,502           0.04%      12.66%           11.93%           635%
    2017         13              16                760,254         971,011     132,495 + 78,678       0          416             1034%      21.17%           21.79%           18.33%
    2018         16              I                 971.011         1.097.339   165,824 + 31,360       4.041      4.095           2.77%      5.17%            4.43%            5.34%
    2019         18              21                I 097 339       1.056.278   0 + 114.023            5.084      150.000         1039%      30.80%           31 46%           , 2 21%
    2020                                                                                                                                    20.99%           18.37%           21.43%
    Total
    OverfUnder



     It is assumed that "other income" consists of investment gains and losses
    2 Because exact figures are not available, calculations of gains and losses have been done as follows:
      Gains — other income divided by assets at start of year;
      Losses — other income divided by (Assets at year end plus other income). This maximizes the percent gain and minimizes the percent loss in any year.
    3 "Vanguard Total Stock Market Index Fund is designed to provide investors with exposure to the entire U.S. equity market, including small-, mid-, and
      large-cap growth and value stocks." See https://investor.vanguard.cornimutual-funds/profile/vtsax.
      See https://finance.yahoo.com/quoteNTSAX/performance/
    5 "The [Vanguard S&P 500 Index Fund Admiral] offers exposure to 500 of the largest U.S. companies, which span many different industries and account for
       about three- fourths of the U.S. stock market's value." See https://investor.vanguard.cotn/mutual-funds/profileNFIAX.
    6 See https://finance.yahoo.com/quoteNFIAX/performance/
      "[The Vanguard STAR Fund is a] balanced fund ... invested 60% in stocks and 40% in bonds." See https:llinvestor.vanguard.com/mutual-funds/profileNGSTX.
      See https://finance.yahoo.com/quoteNGSTX/performance/
    9 Numbers in red indicate a loss




5
5   While the
    While the Plan was established
              Plan was established in
                                   in 2007,
                                      2007, the
                                            the DOL
                                                DOL web
                                                    web site
                                                        site includes
                                                             includes no
                                                                      no Form
                                                                         Form 5500
                                                                              5500 for
                                                                                   for either
                                                                                       either 2007
                                                                                              2007 or
                                                                                                   or 2008.
                                                                                                      2008.
6
6Because Defendants
 Because    Defendants have   refused to
                         have refused     provide Plaintiff
                                       to provide   Plaintiff with
                                                              with any
                                                                   any information
                                                                       information about
                                                                                   about the
                                                                                          the Plan's
                                                                                              Plan’s investments,
                                                                                                     investments, Plaintiff
                                                                                                                   Plaintiff
cannot know
cannot   know what   investments might
               what investments   might bebe more
                                             more appropriate
                                                    appropriate comparisons.
                                                                  comparisons. By
                                                                               By selecting
                                                                                  selecting these
                                                                                            these three
                                                                                                  three Vanguard
                                                                                                         Vanguard funds,
                                                                                                                    funds,
Plaintiff does
Plaintiff does not
                not suggest
                    suggest that
                            that they
                                 they are
                                      are totally
                                           totally appropriate
                                                   appropriate comparisons.
                                                                comparisons. But
                                                                              But the
                                                                                  the Vanguard
                                                                                      Vanguard funds
                                                                                                 funds are
                                                                                                        are useful as
                                                                                                            useful as
comparisons because
comparisons    because they
                        they show
                             show (1)
                                   (1) how
                                        how badly
                                             badly the
                                                     the Plan
                                                         Plan underperformed
                                                              underperformed aa stock
                                                                                 stock fund
                                                                                       fund and,
                                                                                             and, upon
                                                                                                  upon information
                                                                                                        information and
                                                                                                                      and
belief, the
belief,     Plan invested
        the Plan invested solely
                           solely or
                                  or predominately
                                     predominately in  in stocks,
                                                          stocks, and
                                                                  and (2)
                                                                      (2) how
                                                                          how badly
                                                                              badly the
                                                                                    the Plan
                                                                                        Plan underperformed
                                                                                              underperformed even
                                                                                                               even the
                                                                                                                     the
diversified Vanguard
diversified  Vanguard STAR     Fund.
                        STAR Fund.


                                                                                                 11
                                                                                                 11
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        46.           following three
                  The following three charts
                                      charts (Chart
                                             (Chart 2,
                                                    2, Chart
                                                       Chart 3
                                                             3 and
                                                               and Chart
                                                                   Chart 4)
                                                                         4) provide
                                                                            provide aa year
                                                                                       year by
                                                                                            by year
                                                                                               year

comparison of
comparison of the
              the Plan's
                  Plan’s actual
                         actual assets
                                assets at
                                       at the
                                          the start
                                              start of
                                                    of each
                                                       each year
                                                            year versus
                                                                 versus what
                                                                        what its
                                                                             its assets
                                                                                 assets would
                                                                                        would have
                                                                                              have

been had
been had it
         it been
            been invested
                 invested in
                          in each
                             each of
                                  of the
                                     the Vanguard
                                         Vanguard funds.
                                                  funds.

                                                     CHART 2

                   PLAN ASSETS AT START OF YEAR IF INVESTED
                                                   INVESTED IN
                                                            IN
                           TOTAL STOCK MARKET INDEX FUND ADMIRAL
                  VANGUARD TOTAL

   Year     Actual         Plan Assets       Vanguard       Vanguard       Employer     Expenses           Benefits
            Plan           at Start of       Total          Total          Contribution Paid by            Paid by
            Assets at      Year if           Stock          Stock          to Plan      Plan               Plan
            Start of       Invested in       Market         Market
            Year      Vanguard               Index          Index
                      Total Stock            Fund           Fund
                      Market                 Admiral        Admiral
                      Index Fund             Rate of        Gain/Loss
                      Admiral                return
   2009     100,858   Unknown'               28.83%         29,077          65,165                            0
   2010     172,946   195,100                17.26%         33,674          68,682                           1,061
   2011     243,608   296,395                 1.08%         3,201           67,079                            0
   2012     292,948   366,675                16.38%         60,061          64,004                           9,172
   2013     406,302   481,568                33.52%         161,422         61,446                           7,670
   2014     492,423   696,766                12.56%         87,514          57,805                            0
   2015     570,194   842,085                 0.39%         3,284           91,341                            0
   2016     662,667   936,710                12.66%         118,587         99,375                           4,502
   2017     760,254   1,150,170              21.17%         243,491        132,495                              416
   2018     971,011   1,525,740               5.17%         78,881         165,824           4,041           4,095
   2019     1,097,339 1,604,547              30.80%         490,200           0              5,084         150,000
   2020     1,056,278 1,939,663              20.99%

  1 Because there are no Form 5500s for the Plan available online for 2007 or 2008. Plaintiff cannot calculate what the
    Plan's investment performance would have been had is assets been invested in this Fund.

        47.       Per Chart
                  Per Chart 2,
                            2, had
                               had the
                                   the Plan
                                       Plan been
                                            been invested
                                                 invested in
                                                          in the
                                                             the Vanguard
                                                                 Vanguard Total
                                                                          Total Stock Market
                                                                                      Market Index

     Admiral, its
Fund Admiral, its assets
                  assets as
                         as of
                            of 12/31/19
                               12/31/19 would
                                        would have
                                              have been
                                                   been 83.453%
                                                        83.63% more
                                                                more than
                                                                     than they
                                                                          they were
                                                                               were thereby
                                                                                    thereby

increasing the
increasing the account
               account balances
                       balances of
                                of all
                                   all participants
                                       participants by
                                                    by 83.453%.
                                                       83.63%. That
                                                                That would
                                                                     would have
                                                                           have increased
                                                                                increased

Plaintiff’s benefit
Plaintiff's benefit by
                    by $75,523.12.




                                                          12
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                                                    CHART 3
                                                    CHART 3

                     PLAN ASSETS AT START OF YEAR IF INVESTED
                                                     INVESTED IN
                                                              IN
                       VANGUARD S&P
                       VANGUARD       500 INDEX FUND
                                  S&P 500       FUND ADMIRAL

  Year         Actual    Plan              Vanguard       Vanguard       Employer     Expenses            Benefits
               Plan      Assets at         S&P            S&P            Contribution Paid by             Paid by
               Assets at Start of          Index          Index          to Plan      Plan                Plan
               Start of  Year if           Fund           Fund
               Year      Invested          Admiral        Admiral
                         in                Rate of        Gain or
                         Vanguard          return         Loss
                         S&P
                         Index
                         Fund
                         Admiral
  2009          100,858 Unknown'           26.62%          26,622         65,165                             0
  2010          172,946   192,871          15.05%          29,027         68,682                            1,061
  2011          243,608   289,519           2.08%           6,022         67,079                             0
  2012          292,948   362,620          15.96%          57,874         64,004                            9,172
  2013          406,302   475,326          32.33%         153,673         61,446                            7,670
  2014          492,423   682,776          13.64%          93,131         57,805                             0
  2015          570,194   833,712           1.36%          11,338         91,341                             0
  2016          662,667   936,391          11.93%         111,711         99,375                            4,502
  2017          760,254 1,142,975          21.79%         249,054        132,495                               416
  2018          971,011 1,524,108           4.43%          67,518        165,824              4,041         4,095
  2019         1,097,339 1,614,278         31.46%         507,852           0                 5,084       150,000
  2020         1,056,278 1,967,046         18.37%


 1 Because there are no Form 5500s for the Plan available online for 2007 or 2008. Plaintiff cannot calculate what the
   Plan's investment performance would have been had is assets been invested in this Fund.


         48.      Per Chart
                  Per Chart 3,
                            3, had
                               had the
                                   the Plan
                                       Plan been
                                            been invested
                                                 invested in
                                                          in the
                                                             the Vanguard
                                                                 Vanguard S&P
                                                                          S&P 500
                                                                              500 Fund
                                                                                  Fund Admiral,
                                                                                       Admiral,

    assets as
its assets as of
              of 12/31/19
                 12/31/19 would
                          would have
                                have been
                                     been 86.22%
                                          86.22% more
                                                 more than
                                                      than they
                                                           they were
                                                                were thereby
                                                                     thereby increasing
                                                                             increasing the
                                                                                        the

account balances
account balances of
                 of all
                    all participants
                        participants by
                                     by 86.22%.
                                        86.22%. That
                                                That would
                                                     would have
                                                           have increased
                                                                increased Plaintiff's
                                                                          Plaintiff’s benefit
                                                                                      benefit by
                                                                                              by

$77,862.05.
$77,862.05.




                                                          13
                                                          13
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                                                     CHART 4

                     PLAN ASSETS AT START OF YEAR IF INVESTED
                                                     INVESTED IN
                                                              IN
                               VANGUARD STAR FUND

   Year     Actual    Plan Assets            Vanguard       Vanguard       Employer     Expenses           Benefits
            Plan      at Start of            STAR           STAR           Contribution Paid by            Paid by
            Assets at Year if                Fund           Fund           to Plan      Plan               Plan
            Start of  Invested in            Rate of        Gain or
            Year      Vanguard               Return         Loss
                      STAR Fund
   2009      100,858 Unknown'                24.85%          25,063          65,165                           0
   2010      172,946    191,086              11.70%          22,357          68,682                          1,061
   2011      243,608    281,064               0.77%           2,164          67,079                           0
   2012      292,948    350,307              13.79%          48,307          64,004                          9,172
   2013      406,302    453,446              17.80%          80,713          61,446                          7,670
   2014      492,423    587,935               7.35%          43,213          57,805                           0
   2015      570,194    688,953               0.15%           1,033          91,341                           0
   2016      662,667    779,261               6.55%          51,042          99,375                          4,502
   2017      760,254    925,176              18.33%         169,585        132,495                              416
   2018      971,011 1,226,840                5.34%          65,513        165,824           4,041           4,095
   2019     1,097,339 1,450,041              22.21%         322,054        0                 5,084         150,000
   2020     1,056,278 1,617,011              21.43%


  1 Because there are no Form 5500s for the Plan available online for 2007 or 2008. Plaintiff cannot calculate what the
    Plan's investment performance would have been had is assets been invested in this Fund.

        49.       Per Chart
                  Per Chart 4,
                            4, had
                               had the
                                   the Plan
                                       Plan been
                                            been invested
                                                 invested in
                                                          in the
                                                             the Vanguard
                                                                 Vanguard STAR Fund,
                                                                               Fund, its
                                                                                     its assets
                                                                                         assets as
                                                                                                as

of 12/31/19
of 12/31/19 would
            would have
                  have been
                       been 53.08%
                            53.08% more
                                   more than
                                        than they
                                             they were
                                                  were thereby
                                                       thereby increasing
                                                               increasing the
                                                                          the account
                                                                              account

balances of
balances of all
            all participants
                participants by
                             by 53.08%.
                                53.08%. That
                                        That would
                                             would have
                                                   have increased
                                                        increased Plaintiff's
                                                                  Plaintiff’s benefit
                                                                              benefit by
                                                                                      by

$47,934.56.
$47,934.56.

        50.
        50.       Despite the
                  Despite the due
                              due date
                                  date for
                                       for filing
                                           filing aa Form
                                                     Form 5500
                                                          5500 for
                                                               for particular
                                                                   particular year
                                                                              year being
                                                                                   being July
                                                                                         July 31
                                                                                              31 of
                                                                                                 of the
                                                                                                    the

                       an extension
following year, or, if an extension is
                                    is sought,
                                       sought, by
                                               by October
                                                  October 31
                                                          31 of
                                                             of the
                                                                the following
                                                                    following year,
                                                                              year, no
                                                                                    no Form
                                                                                       Form 5500
                                                                                            5500

    the Plan
for the Plan is
             is available
                available online
                          online for
                                 for 2020,
                                     2020, although
                                           although the
                                                    the Plan
                                                        Plan must
                                                             must have
                                                                  have been
                                                                       been in
                                                                            in existence
                                                                               existence in
                                                                                         in 2020
                                                                                            2020

and 2021
and 2021 because
         because Plaintiff received
                           received his
                                    his benefit
                                        benefit in
                                                in January
                                                   January 2021
                                                           2021 and
                                                                and the
                                                                    the DOL
                                                                        DOL has
                                                                            has confirmed
                                                                                confirmed that
                                                                                          that

some participants
some participants have
                  have still
                       still not
                             not received
                                 received their
                                          their benefits
                                                benefits so
                                                         so their
                                                            their Plan
                                                                  Plan accounts
                                                                       accounts must
                                                                                must still
                                                                                     still be
                                                                                           be active.
                                                                                              active.




                                                          14
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          51.
          51.     The Plan states
                  The Plan states that
                                  that aa participant
                                          participant whose
                                                      whose Plan
                                                            Plan benefits
                                                                 benefits are
                                                                          are vested
                                                                              vested and
                                                                                     and whose
                                                                                         whose

employment terminates
employment terminates is
                      is entitled
                         entitled to
                                  to receive
                                     receive his
                                             his Plan
                                                 Plan benefits
                                                      benefits upon
                                                               upon termination
                                                                    termination of
                                                                                of employment.
                                                                                   employment.

The benefit amount
The benefit amount is
                   is the
                      the amount
                          amount in
                                 in the
                                    the participant's
                                        participant’s account
                                                      account valued
                                                              valued "as
                                                                     “as of
                                                                         of the
                                                                            the Valuation Date7
                                                                                Valuation Date7

coincident with
coincident with or
                or next
                   next preceding
                        preceding the
                                  the date of distribution.”
                                      date of                Plan section
                                              distribution." Plan section 7.02(c).
                                                                          7.02(c).

          52.
          52.     Upon information
                  Upon information and
                                   and belief,
                                       belief, Plaintiff's
                                               Plaintiff’s Plan
                                                           Plan benefit
                                                                benefit was
                                                                        was based
                                                                            based on
                                                                                  on aa December
                                                                                        December

31, 2019,
31, 2019, Valuation
          Valuation Date
                    Date rather than aa December
                         rather than    December 31,
                                                 31, 2020,
                                                     2020, Valuation
                                                           Valuation Date.
                                                                     Date.

          53.
          53.     In 2020, the
                  In 2020, the Vanguard
                               Vanguard Total
                                        Total Stock Market Index
                                              Stock Market       Fund Admiral
                                                           Index Fund Admiral earned
                                                                              earned 20.99%,
                                                                                     20.99%,

see Chart
see Chart 2,
          2, supra,
             supra, the
                    the Vanguard
                        Vanguard S&P
                                 S&P 500 Index Fund
                                     500 Index Fund Admiral
                                                    Admiral earned 18.37%, see
                                                            earned 18.37%, see Chart
                                                                               Chart 3,
                                                                                     3,

supra, and
supra, and the
           the Vanguard
               Vanguard STAR Fund earned
                        STAR Fund earned 21.43%.
                                         21.43%. See Chart 4,
                                                 See Chart 4, supra.
                                                              supra. Had
                                                                     Had Plaintiff
                                                                         Plaintiff not
                                                                                   not

improperly been
improperly been denied
                denied earnings
                       earnings for
                                for 2020,
                                    2020, his
                                          his benefit
                                              benefit amount
                                                      amount would
                                                             would have
                                                                   have been
                                                                        been substantially
                                                                             substantially

higher.
higher.

                                       VII. CLASS
                                       VII.       ALLEGATIONS
                                            CLASS ALLEGATIONS

          54.
          54.     Class Definition. Plaintiff
                  Class Definition. Plaintiff brings
                                              brings this
                                                     this action
                                                          action as
                                                                 as aa class
                                                                       class action
                                                                             action pursuant
                                                                                    pursuant to
                                                                                             to Federal
                                                                                                Federal

Rule of
Rule of Civil
        Civil Procedure
              Procedure 23(a)
                        23(a) and
                              and 23(b)(1)
                                  23(b)(1) or
                                           or (b)(2)
                                              (b)(2) on
                                                     on behalf
                                                        behalf of
                                                               of the
                                                                  the following
                                                                      following class:
                                                                                class:

                  (1) All
                  (1) All persons
                          persons who
                                    who areare currently
                                               currently employed
                                                          employed byby De
                                                                         De Paola
                                                                              Paola Trading,
                                                                                     Trading,
                  Inc. and have
                  Inc. and  have account
                                   account balances
                                             balances in  the DePaola
                                                       in the  DePaola Trading,
                                                                        Trading, Inc.   Profit
                                                                                   Inc. Profit
                  Sharing   Plan, other
                  Sharing Plan,    other than
                                          than Peter
                                                Peter De
                                                      De Paola
                                                          Paola and
                                                                 and (2)
                                                                     (2) all
                                                                          all persons
                                                                              persons
                  formerly   employed by
                  formerly employed       by De
                                             De Paola
                                                  Paola Trading,
                                                        Trading, Inc.   who were
                                                                  Inc. who    were totally
                                                                                    totally or
                                                                                            or
                  partially vested
                  partially vested inin their
                                        their DePaola
                                              DePaola Trading,
                                                        Trading, Inc.   Profit Sharing
                                                                   Inc. Profit           Plan
                                                                               Sharing Plan
                  account balances
                  account   balances atat the
                                          the time
                                              time their
                                                    their employment
                                                          employment withwith DePaola
                                                                               DePaola
                  Trading,   Inc. terminated,
                  Trading, Inc.   terminated, whether
                                                 whether or
                                                          or not
                                                             not such
                                                                 such formerly
                                                                       formerly employed
                                                                                  employed
                  persons have
                  persons  have received
                                  received aa distribution
                                               distribution from
                                                             from the
                                                                   the DePaola
                                                                       DePaola Trading,
                                                                                  Trading,
                  Inc. Profit Sharing
                  Inc. Profit            Plan.
                               Sharing Plan.

Class treatment
Class treatment is
                is appropriate
                   appropriate in
                               in this
                                  this case because it
                                       case because it would
                                                       would promote
                                                             promote judicial
                                                                     judicial economy by
                                                                              economy by

adjudicating the
adjudicating the Plaintiffs
                 Plaintiff’s ERISA claims with
                             ERISA claims with respect
                                               respect to
                                                       to all
                                                          all class
                                                              class members.
                                                                    members.




7
 The  Plan defines
 The Plan  defines Valuation
                    Valuation Date
                              Date as
                                   as the
                                      the last
                                          last day
                                               day of the Plan
                                                   of the Plan Year.
                                                               Year. Plan
                                                                     Plan Article
                                                                          Article 2,
                                                                                  2, p.
                                                                                     p. 11.
                                                                                        11. Plan
                                                                                            Plan Year
                                                                                                 Year is
                                                                                                      is defined
                                                                                                         defined as
                                                                                                                 as the
                                                                                                                    the
calendar year.
calendar year. Id.
               Id. p.
                   p. 7.
                      7.


                                                          15
                                                          15
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       55.
       55.     Numerosity. The
               Numerosity.     members of
                           The members of the
                                          the Class
                                              Class are
                                                    are so
                                                        so numerous
                                                           numerous that
                                                                    that joinder
                                                                         joinder of
                                                                                 of all
                                                                                    all

members is
members is impracticable. While the
           impracticable. While the exact number of
                                    exact number of class
                                                    class members
                                                          members is unknown to
                                                                  is unknown to Plaintiff,
                                                                                Plaintiff, the
                                                                                           the

number appears
number appears to
               to be
                  be more
                     more than
                          than twenty.
                               twenty.

       56.
       56.     Commonality.
               Commonality. The claims of
                            The claims of Plaintiff
                                          Plaintiff and
                                                    and all
                                                        all class members originate
                                                            class members originate from
                                                                                    from the
                                                                                         the

same misconduct,
same misconduct, breaches
                 breaches of
                          of duties,
                             duties, and
                                     and violations
                                         violations of
                                                    of ERISA perpetrated by
                                                       ERISA perpetrated by Defendants.
                                                                            Defendants. The
                                                                                        The

questions of
questions of law and fact
             law and fact common to the
                          common to the Class
                                        Class include,
                                              include, but
                                                       but are
                                                           are not
                                                               not limited
                                                                   limited to:
                                                                           to:

               a.
               a.    Whether Defendants
                     Whether Defendants breached
                                        breached their
                                                 their fiduciary
                                                       fiduciary duty to diversify
                                                                 duty to diversify the
                                                                                   the investments
                                                                                       investments

                      of the
                      of the Plan
                             Plan so
                                  so as
                                     as to
                                        to minimize
                                           minimize the
                                                    the risk
                                                        risk of
                                                             of large
                                                                large losses;
                                                                      losses;

               b.
               b.    Whether Defendants'
                     Whether Defendants’ breached
                                         breached their
                                                  their fiduciary duty to
                                                        fiduciary duty to invest
                                                                          invest the
                                                                                 the Plan's
                                                                                     Plan’s assets
                                                                                            assets

                      prudently;
                      prudently;

               c.
               c.    Whether Defendants
                     Whether Defendants violated
                                        violated the
                                                 the Plan
                                                     Plan and
                                                          and ERISA by failing
                                                              ERISA by         to use
                                                                       failing to use the
                                                                                      the correct
                                                                                          correct

                      Valuation Date
                      Valuation Date in
                                     in the
                                        the calculation
                                            calculation of
                                                        of Plaintiff's
                                                           Plaintiff’s and
                                                                       and class members’ benefits;
                                                                           class members' benefits;

               d.
               d.    Whether Defendants
                     Whether Defendants have violated the
                                        have violated the Plan
                                                          Plan and
                                                               and ERISA by failing
                                                                   ERISA by         to provide
                                                                            failing to provide

                      documents and
                      documents and information
                                    information requested
                                                requested by
                                                          by Plaintiff
                                                             Plaintiff and
                                                                       and class members;
                                                                           class members;

               e.
               e.    Whether Defendants
                     Whether Defendants should
                                        should be
                                               be replaced
                                                  replaced by
                                                           by an
                                                              an Independent Fiduciary;
                                                                 Independent Fiduciary;

               f.
               f.    Whether Plaintiff
                     Whether Plaintiff and
                                       and the
                                           the class members are
                                               class members are entitled to an
                                                                 entitled to an audit
                                                                                audit of
                                                                                      of the
                                                                                         the Plan's
                                                                                             Plan’s

                      finances including its
                      finances including its investments;
                                             investments;

               g.
               g.    Whether Defendants
                     Whether Defendants are
                                        are ERISA
                                            ERISA fiduciaries;
                                                  fiduciaries;

               h.
               h.    Whether Defendants'
                     Whether Defendants’ fiduciary breaches caused
                                         fiduciary breaches caused losses to the
                                                                   losses to the Plan;
                                                                                 Plan; and
                                                                                       and

               i.
               i.    Whether Defendants,
                     Whether Defendants, or either of
                                         or either of them;
                                                      them; should
                                                            should be
                                                                   be required
                                                                      required to
                                                                               to make
                                                                                  make the
                                                                                       the Plan
                                                                                           Plan

                      whole for
                      whole for any
                                any losses caused by
                                    losses caused by their
                                                     their breaches
                                                           breaches of
                                                                    of fiduciary duty.
                                                                       fiduciary duty.




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                                                 16
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        57.
        57.     Typicality. Plaintiff’s claims
                Typicality. Plaintiff's claims on
                                               on behalf
                                                  behalf of
                                                         of his
                                                            his Plan
                                                                Plan are
                                                                     are not
                                                                         not only
                                                                             only typical
                                                                                  typical of,
                                                                                          of, but
                                                                                              but the
                                                                                                  the

same as,
same as, claims that could
         claims that could be
                           be brought
                              brought by
                                      by class
                                         class members
                                               members with
                                                       with respect
                                                            respect to
                                                                    to the
                                                                       the Plan.
                                                                           Plan. Individual
                                                                                 Individual cases
                                                                                            cases

would require
would require each
              each class member to
                   class member to prove
                                   prove the
                                         the same
                                             same claims
                                                  claims based
                                                         based upon
                                                               upon the
                                                                    the same
                                                                        same conduct of the
                                                                             conduct of the

Defendants, using
Defendants, using the
                  the same
                      same legal theories, and
                           legal theories, and would
                                               would be
                                                     be seeking
                                                        seeking the
                                                                the same
                                                                    same relief.
                                                                         relief.

        58.
        58.     Adequacy. Plaintiff
                Adequacy. Plaintiff will
                                    will fairly and adequately
                                         fairly and adequately protect
                                                               protect the
                                                                       the interests of class
                                                                           interests of class

members. Plaintiff
members. Plaintiff has
                   has no
                       no interests antagonistic to,
                          interests antagonistic to, or
                                                     or in conflict with,
                                                        in conflict with, those
                                                                          those of
                                                                                of the
                                                                                   the Class.
                                                                                       Class.

Plaintiff will
Plaintiff will vigorously
               vigorously protect
                          protect the
                                  the interests of absent
                                      interests of absent class
                                                          class members.
                                                                members.

        59.
        59.     Plaintiff has
                Plaintiff     retained counsel
                          has retained counsel who
                                               who are
                                                   are competent
                                                       competent and
                                                                 and have
                                                                     have extensive
                                                                          extensive experience
                                                                                    experience in
                                                                                               in

class action
class action and
             and ERISA
                 ERISA litigation. Plaintiff’s counsel
                       litigation. Plaintiff's         is the
                                               counsel is the firm of Keller
                                                              firm of Keller Rohrback
                                                                             Rohrback L.L.P.
                                                                                      L.L.P.

        60.
        60.     Rule 23(b)(1)(A)
                Rule 23(b)(1)(A) &
                                 & (B)
                                   (B) Requirements.
                                       Requirements. Class
                                                     Class action
                                                           action status
                                                                  status is
                                                                         is warranted
                                                                            warranted under
                                                                                      under

Federal Rule
Federal Rule of
             of Civil
                Civil Procedure
                      Procedure 23(b)(1)(A)
                                23(b)(1)(A) because
                                            because prosecution
                                                    prosecution of
                                                                of separate
                                                                   separate actions
                                                                            actions by
                                                                                    by class
                                                                                       class

members would
members would create
              create aa risk of establishing
                        risk of establishing incompatible
                                             incompatible standards of conduct
                                                          standards of conduct for Defendants. Class
                                                                               for Defendants. Class

action status
action status is
              is also
                 also warranted
                      warranted under
                                under Rule
                                      Rule 23(b)(1)(B), because prosecution
                                           23(b)(1)(B), because prosecution of
                                                                            of separate
                                                                               separate actions
                                                                                        actions by
                                                                                                by

class members
class members would
              would create
                    create aa risk
                              risk of
                                   of adjudications
                                      adjudications with
                                                    with respect to individual
                                                         respect to            class members
                                                                    individual class members that,
                                                                                             that, as
                                                                                                   as aa

practical matter,
practical matter, would
                  would be
                        be dispositive
                           dispositive of
                                       of the
                                          the interests
                                              interests of
                                                        of other members not
                                                           other members not parties
                                                                             parties to
                                                                                     to this
                                                                                        this action,
                                                                                             action, or
                                                                                                     or

that would
that would substantially
           substantially impair
                         impair or
                                or impede
                                   impede their
                                          their ability
                                                ability to
                                                        to protect
                                                           protect their
                                                                   their interests.
                                                                         interests.

        61.
        61.     Rule 23(b)(2)
                Rule 23(b)(2) Requirements.
                              Requirements. Certification
                                            Certification under
                                                          under Rule
                                                                Rule 23(b)(2)
                                                                     23(b)(2) is warranted
                                                                              is warranted

because Defendants
because Defendants have
                   have acted
                        acted or
                              or refused
                                 refused to
                                         to act
                                            act on
                                                on grounds
                                                   grounds generally
                                                           generally applicable
                                                                     applicable to
                                                                                to the
                                                                                   the Class,
                                                                                       Class,

thereby making
thereby making appropriate
               appropriate final injunctive, declaratory,
                           final injunctive, declaratory, or
                                                          or other
                                                             other equitable
                                                                   equitable relief
                                                                             relief with
                                                                                    with respect
                                                                                         respect to
                                                                                                 to

the Class
the Class as
          as aa whole.
                whole. No
                       No individualized
                          individualized inquiry would be
                                         inquiry would be required to determine
                                                          required to           whether
                                                                      determine whether

Defendants’ breached
Defendants' breached their
                     their fiduciary
                           fiduciary duties.
                                     duties.




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                                                    17
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                                     VIII. CLAIMS
                                     VIII. CLAIMS FOR RELIEF
                                                  FOR RELIEF

                               FIRST CLAIM
                               FIRST   CLAIM FOR      RELIEF
                                                 FOR RELIEF
                                  Breach of
                                  Breach  of Fiduciary  Duty
                                             Fiduciary Duty
              (ERISA §§
              (ERISA §§ 404(a)(1)(C),
                        404(a)(1)(C), 409(a), 29 U.S.C.
                                      409(a), 29        §§ 1104(a)(1)(C),
                                                 U.S.C. §§ 1104(a)(1)(C), 1109(a))
                                                                          1109(a))

        62.
        62.     Plaintiff repeats
                Plaintiff repeats and
                                  and realleges
                                      realleges the
                                                the matter
                                                    matter set
                                                           set forth
                                                               forth in paragraphs 1-63
                                                                     in paragraphs 1-63 above
                                                                                        above as
                                                                                              as if
                                                                                                 if

fully set forth
fully set forth herein.
                herein.

        63.
        63.     As the
                As the above
                       above Charts
                             Charts show,
                                    show, the
                                          the Plan
                                              Plan has
                                                   has substantially
                                                       substantially underperformed
                                                                     underperformed each
                                                                                    each of
                                                                                         of the
                                                                                            the

compared Vanguard
compared Vanguard funds, underperforming even
                  funds, underperforming      the most
                                         even the most conservative
                                                       conservative of
                                                                    of them
                                                                       them by
                                                                            by more
                                                                               more than
                                                                                    than

50%.
50%.

        64.
        64.     The Forms 5500
                The Forms      for the
                          5500 for the Plan
                                       Plan for calendar years
                                            for calendar years 2009
                                                               2009 and
                                                                    and 2010
                                                                        2010 responded
                                                                             responded yes
                                                                                       yes to
                                                                                           to

the question:
the question: "Did
              “Did the
                   the plan
                       plan at
                            at any
                               any time
                                   time hold 20% or
                                        hold 20% or more
                                                    more of
                                                         of its assets in
                                                            its assets    any single
                                                                       in any single security,
                                                                                     security,

debt, mortgage,
debt, mortgage, parcel
                parcel of
                       of real
                          real estate,
                               estate, or
                                       or partnership/joint
                                          partnership/joint venture
                                                            venture interest?” Upon information
                                                                    interest?" Upon information and
                                                                                                and

belief, this
belief, this investment was aa stock
             investment was    stock sold
                                     sold on
                                          on the
                                             the New
                                                 New York
                                                     York Stock
                                                          Stock Exchange.
                                                                Exchange.

        65.
        65.     Upon further
                Upon further information and belief,
                             information and belief, especially because the
                                                     especially because the business
                                                                            business of
                                                                                     of the
                                                                                        the

Company is
Company is in
           in the
              the securities
                  securities industry,
                             industry, the
                                       the Plan's
                                           Plan’s investments
                                                  investments were
                                                              were solely
                                                                   solely or
                                                                          or overwhelmingly
                                                                             overwhelmingly in
                                                                                            in

publicly traded
publicly traded equity
                equity securities.
                       securities.

        66.
        66.     Had the
                Had the Plan's
                        Plan’s investments
                               investments been
                                           been properly
                                                properly diversified
                                                         diversified either
                                                                     either solely
                                                                            solely within
                                                                                   within the
                                                                                          the

equity market
equity market or
              or among
                 among various
                       various types
                               types of
                                     of investments,
                                        investments, its
                                                     its earnings
                                                         earnings would
                                                                  would have
                                                                        have been
                                                                             been substantially
                                                                                  substantially

greater.
greater.

        67.
        67.     The Plan has
                The Plan has been
                             been damaged
                                  damaged by
                                          by Defendants'
                                             Defendants’ breaches
                                                         breaches of
                                                                  of fiduciary
                                                                     fiduciary duty insofar as
                                                                               duty insofar as

Defendants failed
Defendants failed to
                  to diversify the Plan's
                     diversify the Plan’s investments.
                                          investments.

        68.
        68.     Pursuant to
                Pursuant to ERISA § 409(a),
                            ERISA § 409(a), 29
                                            29 U.S.C.
                                               U.S.C. §
                                                      § 1109(a),
                                                        1109(a), fiduciaries, such as
                                                                 fiduciaries, such as

Defendants, are
Defendants, are "personally
                “personally liable to make
                            liable to make good
                                           good to
                                                to [a]
                                                   [a] plan
                                                       plan any
                                                            any losses
                                                                losses to
                                                                       to the
                                                                          the plan
                                                                              plan resulting
                                                                                   resulting from
                                                                                             from

[the fiduciary’s
[the             breaches].
     fiduciary's breaches].




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                                                 18
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                             SECOND CLAIM
                             SECOND     CLAIM FOR       RELIEF
                                                  FOR RELIEF
                                  Breach of
                                  Breach  of Fiduciary  Duty
                                             Fiduciary Duty
              (ERISA §§
              (ERISA §§ 404(a)(1)(B), 409(a), 29
                        404(a)(1)(B), 409(a), 29 U.S.C. §§ 1104(a)(1)(B),
                                                 U.S.C. §§ 1104(a)(1)(B), 1109(a))
                                                                          1109(a))

        69.
        69.     Plaintiff repeats
                Plaintiff repeats and
                                  and realleges
                                      realleges the
                                                the matter
                                                    matter set
                                                           set forth
                                                               forth in paragraphs 1-68
                                                                     in paragraphs 1-68 above
                                                                                        above as
                                                                                              as if
                                                                                                 if

fully set forth
fully set forth herein.
                herein.

        70.
        70.     The Plan has
                The Plan has been
                             been damaged
                                  damaged by
                                          by Defendants'
                                             Defendants’ breaches
                                                         breaches of
                                                                  of fiduciary
                                                                     fiduciary duty insofar as
                                                                               duty insofar as

Defendants failed
Defendants failed to
                  to invest the Plan's
                     invest the Plan’s assets
                                       assets prudently.
                                              prudently.

                             THIRD CLAIM
                             THIRD     CLAIM FOR     RELIEF
                                                FOR RELIEF
                                 Breach of
                                 Breach  of Fiduciary  Duty
                                            Fiduciary Duty
        (ERISA §§
        (ERISA §§ 404(a)(1)(A), (D), 409(a),
                  404(a)(1)(A), (D),         29 U.S.C.
                                     409(a), 29        §§ 1104(a)(1)(A),
                                                U.S.C. §§ 1104(a)(1)(A), (D),
                                                                         (D), 1109(a))
                                                                              1109(a))

        71.
        71.     Plaintiff repeats
                Plaintiff repeats and
                                  and realleges
                                      realleges the
                                                the matter
                                                    matter set
                                                           set forth
                                                               forth in paragraphs 1-70
                                                                     in paragraphs 1-70 above
                                                                                        above as
                                                                                              as if
                                                                                                 if

fully set forth
fully set forth herein.
                herein.

        72.
        72.     Plan section
                Plan section 9.05(c) provides:
                             9.05(c) provides:

                        Allocation to
                        Allocation   to Individual  Accounts. The
                                        Individual Accounts.        Accounts of
                                                                The Accounts   of each
                                                                                  each
                Participant shall
                Participant  shall be
                                   be adjusted
                                       adjusted as
                                                 as of
                                                    of each
                                                       each Valuation
                                                            Valuation Date
                                                                       Date by:
                                                                             by: (1)
                                                                                 (1)
                reducing such
                reducing  such Accounts
                                Accounts by by any
                                               any distributions
                                                    distributions and
                                                                  and withdrawals
                                                                      withdrawals
                made therefrom
                made  therefrom since
                                   since the
                                         the preceding
                                             preceding Valuation
                                                         Valuation Date;
                                                                    Date; (2)
                                                                          (2)
                increasing or
                increasing  or reducing
                               reducing such
                                          such Accounts
                                                Accounts byby the
                                                              the Participant's
                                                                  Participant's share
                                                                                share
                of earnings  and  losses  and reasonable   fees charged  against
                of earnings and losses and reasonable fees charged against such  such
                Accounts at
                Accounts   at the
                              the direction
                                  direction of
                                             of the
                                                the Plan
                                                     Plan Administrator;
                                                          Administrator; and
                                                                          and (3)
                                                                              (3)
                crediting such
                crediting such Accounts
                                Accounts with
                                            with any
                                                  any contributions
                                                       contributions made
                                                                     made thereto
                                                                           thereto
                since the
                since the preceding
                          preceding Valuation
                                       Valuation Date.
                                                   Date.

        73.
        73.     Based on
                Based on the
                         the statements
                             statements of
                                        of his
                                           his Plan
                                               Plan account
                                                    account which
                                                            which were
                                                                  were provided
                                                                       provided to
                                                                                to Plaintiff,
                                                                                   Plaintiff, his
                                                                                              his

account (a)
account (a) was
            was consistently
                consistently shortchanged
                             shortchanged when,
                                          when, inter alia, investment
                                                inter alia, investment gains
                                                                       gains and
                                                                             and employer
                                                                                 employer

contributions were
contributions were "allocated"
                   “allocated” to
                               to his
                                  his account
                                      account and
                                              and (b)
                                                  (b) his
                                                      his account
                                                          account was
                                                                  was consistently
                                                                      consistently overcharged
                                                                                   overcharged

when investment
when investment losses and expenses
                losses and          were "allocated"
                           expenses were “allocated” to
                                                     to his
                                                        his account.
                                                            account.

        74.
        74.     For example,
                For example, Plaintiff's
                             Plaintiff’s Plan
                                         Plan statement
                                              statement for 2018 states
                                                        for 2018 states that
                                                                        that his
                                                                             his account
                                                                                 account balance
                                                                                         balance at
                                                                                                 at

the end
the end of
        of 2017
           2017 was
                was $76,718.00.
                    $76,718.00. The Plan’s total
                                The Plan's total assets
                                                 assets at
                                                        at year-end
                                                           year-end 2017
                                                                    2017 were
                                                                         were $971,011
                                                                              $971,011 (see
                                                                                       (see

Chart 1,
Chart 1, supra).
         supra). As
                 As such,
                    such, Plaintiff's
                          Plaintiff’s account
                                      account constituted 7.9% of
                                              constituted 7.9% of the
                                                                  the Plan's
                                                                      Plan’s assets
                                                                             assets at
                                                                                    at that
                                                                                       that time.
                                                                                            time.




                                                 19
                                                 19
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There were $165,824
There were $165,824 in
                    in employer contributions in
                       employer contributions in 2018
                                                 2018 according
                                                      according to
                                                                to the
                                                                   the Form
                                                                       Form 5500
                                                                            5500 for that
                                                                                 for that

year. Based
year. Based on
            on Plaintiffs
               Plaintiff’s account
                           account as
                                   as aa percentage
                                         percentage of
                                                    of the
                                                       the Plan's
                                                           Plan’s assets,
                                                                  assets, his
                                                                          his account
                                                                              account should
                                                                                      should have
                                                                                             have

been credited
been credited with
              with $13,100.10
                   $13,100.10 ($165,824
                              ($165,824 x
                                        x .079 = $13,100.10)
                                          .079 = $13,100.10) of
                                                             of those
                                                                those contributions. But
                                                                      contributions. But

Plaintiff was
Plaintiff was only
              only allocated $8,107.97.8
                   allocated $8,107.97.8

         75.
         75.       Because the
                   Because the amounts
                               amounts allocated
                                       allocated to
                                                 to Plaintiff's
                                                    Plaintiff’s account
                                                                account were
                                                                        were incorrect, that per
                                                                             incorrect, that per force
                                                                                                 force

means that
means that the
           the amounts
               amounts allocated
                       allocated to
                                 to the
                                    the accounts
                                        accounts of
                                                 of other
                                                    other Plan
                                                          Plan participants
                                                               participants must
                                                                            must have
                                                                                 have been
                                                                                      been

incorrect, i.e.,
incorrect, i.e., one
                 one or
                     or more
                        more participants
                             participants have
                                          have received
                                               received insufficient
                                                        insufficient allocations
                                                                     allocations and
                                                                                 and one
                                                                                     one or
                                                                                         or more
                                                                                            more

participants have
participants have received
                  received excess allocations.
                           excess allocations.

         76.
         76.       A reallocation
                   A reallocation is
                                  is required
                                     required so
                                              so that
                                                 that all
                                                      all participants'
                                                          participants’ accounts
                                                                        accounts have
                                                                                 have received their
                                                                                      received their

correct allocations.
correct allocations.

                                   FOURTH     CLAIM FOR
                                   FOURTH CLAIM               RELIEF
                                                         FOR RELIEF
                                        Breach of
                                        Breach  of Fiduciary  Duty
                                                   Fiduciary Duty
                              (ERISA §§
                              (ERISA  §§ 404(a)(1),
                                         404(a)(1), (D),
                                                    (D), 406(a)(1)(D), 409(a),
                                                         406(a)(1)(D), 409(a),
                           29 U.S.C.
                           29        §§ 1104(a)(1),
                              U.S.C. §§ 1104(a)(1), (D),
                                                    (D), 1106(a)(1)(D),
                                                         1106(a)(1)(D), 1109(a))
                                                                        1109(a))

         77.
         77.       Plaintiff repeats
                   Plaintiff repeats and
                                     and realleges
                                         realleges the
                                                   the matter
                                                       matter set
                                                              set forth
                                                                  forth in paragraphs 1-76
                                                                        in paragraphs 1-76 above
                                                                                           above as
                                                                                                 as if
                                                                                                    if

fully set forth
fully set forth herein.
                herein.

         78.
         78.       Rather than
                   Rather than the
                               the Plan
                                   Plan being
                                        being solely
                                              solely employer
                                                     employer contributory,
                                                              contributory, when
                                                                            when the
                                                                                 the Company
                                                                                     Company paid
                                                                                             paid

Plaintiff and,
Plaintiff and, upon information and
               upon information and belief,
                                    belief, class
                                            class members,
                                                  members, their
                                                           their earned
                                                                 earned commissions,
                                                                        commissions, three
                                                                                     three (3%)
                                                                                           (3%)

per cent
per cent (or
         (or more)
             more) of
                   of those
                      those commissions
                            commissions were
                                        were deducted
                                             deducted ostensibly
                                                      ostensibly to
                                                                 to make
                                                                    make the
                                                                         the employer’s
                                                                             employer's

contributions to
contributions to the
                 the Plan.
                     Plan.

         79.
         79.       In other words,
                   In other words, despite
                                   despite Plan
                                           Plan language
                                                language to
                                                         to the
                                                            the contrary,
                                                                contrary, employees did contribute
                                                                          employees did contribute to
                                                                                                   to

the Plan
the Plan and
         and may
             may have
                 have been
                      been the
                           the sole
                               sole contributors
                                    contributors to
                                                 to the
                                                    the Plan.
                                                        Plan.


8
  Plaintiff has
8 Plaintiff has assumed
                assumed the
                         the allocation
                              allocation of
                                         of employer    contributions was
                                            employer contributions     was to
                                                                           to be
                                                                              be based
                                                                                 based on the amount
                                                                                       on the  amount inin each
                                                                                                           each participant's
                                                                                                                 participant’s
account as
account   as compared
             compared to
                       to total
                          total Plan
                                Plan assets.
                                      assets. However,
                                              However, there
                                                         there are
                                                               are several permitted methods
                                                                   several permitted  methods for
                                                                                                for the
                                                                                                    the allocation
                                                                                                        allocation of
                                                                                                                   of
employer
employer contributions
            contributions in profit sharing
                          in profit sharing plans.
                                             plans. In that Plaintiff
                                                    In that Plaintiff has
                                                                      has not been provided
                                                                          not been provided with
                                                                                             with the
                                                                                                   the method
                                                                                                       method byby which
                                                                                                                   which the
                                                                                                                          the
Plan allocated
Plan  allocated employer
                 employer contributions   or those
                           contributions or   those calculations,.absent  discovery, Plaintiff
                                                    calculations,.absent discovery,  Plaintiff cannot
                                                                                               cannot assess
                                                                                                       assess whether
                                                                                                              whether
employer
employer contribution    allocations were
            contribution allocations  were properly
                                            properly made.
                                                      made.


                                                             20
                                                             20
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        80.
        80.     Once an
                Once an employer has received
                        employer has received employee
                                              employee contributions, those contributions
                                                       contributions, those contributions

become plan
become plan assets
            assets and
                   and the
                       the employer
                           employer becomes
                                    becomes aa fiduciary with respect
                                               fiduciary with respect to
                                                                      to those
                                                                         those assets.
                                                                               assets. 29
                                                                                       29 C.F.R.
                                                                                          C.F.R.

2510.3-102(a)(1). In
2510.3-102(a)(1). In general, those contributions
                     general, those contributions must
                                                  must be
                                                       be paid
                                                          paid to
                                                               to the
                                                                  the Plan
                                                                      Plan within
                                                                           within seven
                                                                                  seven (7)
                                                                                        (7) days
                                                                                            days

of their
of their receipt
         receipt by
                 by the
                    the employer.
                        employer. 29
                                  29 C.F.R.
                                     C.F.R. 2510.3-102
                                            2510.3-102 (a)(2).
                                                       (a)(2).

        81.
        81.     While the
                While the Company
                          Company has
                                  has consistently withheld 3%
                                      consistently withheld    (or more)
                                                            3% (or more) of
                                                                         of Plaintiffs
                                                                            Plaintiff’s and,
                                                                                        and,

upon information
upon information and
                 and belief,
                     belief, other
                             other participants'
                                   participants’ commissions,
                                                 commissions, the
                                                              the Company
                                                                  Company has
                                                                          has failed
                                                                              failed to
                                                                                     to pay
                                                                                        pay the
                                                                                            the

entire amounts
entire amounts withheld
               withheld to
                        to the
                           the Plan.
                               Plan.

        82.
        82.     ERISA § 406,
                ERISA § 406, 29
                             29 U.S.C.
                                U.S.C. §
                                       § 1106,
                                         1106, is
                                               is titled
                                                  titled "Prohibited
                                                         “Prohibited Transactions.”
                                                                     Transactions." The section
                                                                                    The section

makes an
makes an individual who is
         individual who is aa "party
                              “party in interest” strictly
                                     in interest" strictly liable for certain
                                                           liable for         transactions.
                                                                      certain transactions.

        83.
        83.     Each Defendant is
                Each Defendant is aa "p
                                     “party in interest” within
                                            in interest" within the
                                                                the meaning
                                                                    meaning of
                                                                            of ERISA § 3(14),
                                                                               ERISA §        29
                                                                                       3(14), 29

U.S.C. §
U.S.C. § 1002(14).
         1002(14).

        84.
        84.     One such
                One such prohibited
                         prohibited transaction
                                    transaction is the "transfer
                                                is the “transfer to,
                                                                 to, or
                                                                     or use by or
                                                                        use by or for
                                                                                  for the
                                                                                      the benefit
                                                                                          benefit of
                                                                                                  of aa

party in
party in interest, of any
         interest, of any assets
                          assets of
                                 of the
                                    the plan[.]"See
                                        plan[.]”See ERISA § 406(a)(1)(D),
                                                    ERISA § 406(a)(1)(D), 29
                                                                          29 U.S.C.
                                                                             U.S.C. §
                                                                                    §

1106(a)(1)(D). Other
1106(a)(1)(D). Other prohibited
                     prohibited transactions
                                transactions are
                                             are set
                                                 set forth
                                                     forth in
                                                           in ERISA § 406(b),
                                                              ERISA § 406(b), 29
                                                                              29 U.S.C.
                                                                                 U.S.C. §
                                                                                        §

1106(b) including
1106(b) including aa prohibition
                     prohibition against
                                 against aa fiduciary “dealing with
                                            fiduciary "dealing with the
                                                                    the assets
                                                                        assets of
                                                                               of the
                                                                                  the plan
                                                                                      plan in
                                                                                           in his
                                                                                              his own
                                                                                                  own

interest or
interest or for
            for his
                his own
                    own account[.]"
                        account[.]”

        85.
        85.     The
                The failure of Defendants
                    failure of Defendants to
                                          to transfer
                                             transfer all
                                                      all of
                                                          of the
                                                             the money
                                                                 money withheld
                                                                       withheld from
                                                                                from employees’
                                                                                     employees'

commissions, and
commissions, and its
                 its retention
                     retention by
                               by the
                                  the Company,
                                      Company, constitute breaches of
                                               constitute breaches of the
                                                                      the Defendants'
                                                                          Defendants’ fiduciary
                                                                                      fiduciary

duties as
duties as well
          well as
               as prohibited
                  prohibited transactions.
                             transactions.

                             FIFTH    CLAIM FOR
                             FIFTH CLAIM             RELIEF
                                                FOR RELIEF
                                 Breach of
                                 Breach  of Fiduciary  Duty
                                            Fiduciary Duty
        (ERISA §§
        (ERISA §§ 404(a)(1)(A), (D), 409(a),
                  404(a)(1)(A), (D),         29 U.S.C.
                                     409(a), 29        §§ 1104(a)(1)(A),
                                                U.S.C. §§ 1104(a)(1)(A), (D),
                                                                         (D), 1109(a))
                                                                              1109(a))

        86.
        86.     Plaintiff repeats
                Plaintiff repeats and
                                  and realleges
                                      realleges the
                                                the matter
                                                    matter set
                                                           set forth
                                                               forth in paragraphs 1-85
                                                                     in paragraphs 1-85 above
                                                                                        above as
                                                                                              as if
                                                                                                 if

fully set forth
fully set forth herein.
                herein.




                                                  21
                                                  21
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        87.
        87.     Contrary to
                Contrary to Plan
                            Plan provisions
                                 provisions providing
                                            providing that
                                                      that the
                                                           the Company
                                                               Company shall
                                                                       shall pay
                                                                             pay the
                                                                                 the Plan's
                                                                                     Plan’s

expenses, Plan
expenses, Plan section
               section 12.04,
                       12.04, the
                              the Company
                                  Company charged
                                          charged the
                                                  the Plan
                                                      Plan for
                                                           for its
                                                               its expenses in certain
                                                                   expenses in certain years
                                                                                       years and
                                                                                             and

those expenses
those expenses were
               were allocated
                    allocated to
                              to (i.e.
                                 (i.e. deducted from) the
                                       deducted from) the accounts
                                                          accounts of
                                                                   of Plaintiff
                                                                      Plaintiff and
                                                                                and class
                                                                                    class

members. The
members.     Plan is
         The Plan is entitled
                     entitled to
                              to reimbursement
                                 reimbursement for
                                               for such
                                                   such expenses.
                                                        expenses.

                             SIXTH
                             SIXTH CLAIM
                                      CLAIM FOR      RELIEF
                                               FOR RELIEF
                                Breach of
                                Breach  of Fiduciary  Duty
                                            Fiduciary Duty
        (ERISA §§
        (ERISA §§ 404(a)(1)(A)-(D),
                  404(a)(1)(A)-(D), 409(a), 29 U.S.C.
                                    409(a), 29        §§ 1104(a)(1)(A)-(D),
                                               U.S.C. §§ 1104(a)(1)(A)-(D), 1109(a));
                                                                            1109(a));

        88.
        88.     Plaintiff repeats
                Plaintiff repeats and
                                  and realleges
                                      realleges the
                                                the matter
                                                    matter set
                                                           set forth
                                                               forth in paragraphs 1-87
                                                                     in paragraphs 1-87 above
                                                                                        above as
                                                                                              as if
                                                                                                 if

fully set forth
fully set forth herein.
                herein.

        89.
        89.     Pursuant to
                Pursuant to ERISA § 409(a),
                            ERISA § 409(a), 29
                                            29 U.S.C.
                                               U.S.C. §
                                                      § 1109(a),
                                                        1109(a), fiduciaries,
                                                                 fiduciaries, in addition to
                                                                              in addition to being
                                                                                             being

liable
liable for any losses
       for any        they have
               losses they have caused
                                caused aa plan,
                                          plan, are
                                                are also
                                                    also "subject
                                                         “subject to
                                                                  to such
                                                                     such other
                                                                          other equitable
                                                                                equitable or
                                                                                          or remedial
                                                                                             remedial

relief as
relief as the
          the court may deem
              court may deem appropriate,
                             appropriate, including
                                          including removal of such
                                                    removal of such fiduciary."
                                                                    fiduciary.”

        90.
        90.     Defendants’ abject
                Defendants' abject failure
                                   failure to
                                           to comply
                                              comply with
                                                     with their
                                                          their fiduciary
                                                                fiduciary responsibilities, whether
                                                                          responsibilities, whether

intentional or
intentional or negligent,
               negligent, render them unfit
                          render them unfit to
                                            to continue
                                               continue as
                                                        as Plan
                                                           Plan fiduciaries.
                                                                fiduciaries.

        91.
        91.     Defendants should
                Defendants should be
                                  be removed as Plan
                                     removed as Plan fiduciaries and an
                                                     fiduciaries and an Independent Fiduciary
                                                                        Independent Fiduciary

should be
should be appointed
          appointed in
                    in their
                       their place.
                             place.

                            SEVENTH CLAIM
                            SEVENTH      CLAIM FOR      RELIEF
                                                  FOR RELIEF
                                 Breach of
                                 Breach  of Fiduciary Duty
                                            Fiduciary Duty
    (ERISA §§
    (ERISA §§ 404(a)(1)(B), (C), (D),
              404(a)(1)(B), (C), (D), 409(a), 29 U.S.C.
                                      409(a), 29        § 1104(a)(1)
                                                 U.S.C. § 1104(a)(1) )(B),
                                                                     )(B), (C),
                                                                           (C), (D),
                                                                                (D), 409(a))
                                                                                     409(a))

        92.
        92.     Plaintiff repeats
                Plaintiff repeats and
                                  and realleges
                                      realleges the
                                                the matter
                                                    matter set
                                                           set forth
                                                               forth in paragraphs 1-91
                                                                     in paragraphs 1-91 above
                                                                                        above as
                                                                                              as if
                                                                                                 if

fully set forth
fully set forth herein.
                herein.

        93.
        93.     Whether or
                Whether or not
                           not the
                               the Defendants
                                   Defendants are
                                              are removed
                                                  removed as
                                                          as Plan
                                                             Plan fiduciaries and an
                                                                  fiduciaries and an

Independent Fiduciary is
Independent Fiduciary is appointed
                         appointed for
                                   for the
                                       the Plan
                                           Plan in their stead,
                                                in their stead, an
                                                                an Independent
                                                                   Independent Auditor
                                                                               Auditor should
                                                                                       should be
                                                                                              be

appointed to
appointed to perform
             perform aa comprehensive
                        comprehensive audit
                                      audit of
                                            of the
                                               the Plan,
                                                   Plan, paid
                                                         paid for
                                                              for by
                                                                  by the
                                                                     the Company,
                                                                         Company, in order to
                                                                                  in order to

examine the
examine the Plan's
            Plan’s financial history including,
                   financial history            but not
                                     including, but not limited to, the
                                                        limited to, the Plan's
                                                                        Plan’s investments, the
                                                                               investments, the




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                                                 22
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purchases and
purchases and sales
              sales of
                    of those
                       those investments,
                             investments, the
                                          the timing
                                              timing of
                                                     of those
                                                        those investments, any expenses
                                                              investments, any expenses

attributable to
attributable to those
                those investments such any
                      investments such any commissions paid and
                                           commissions paid and to
                                                                to whom,
                                                                   whom, the
                                                                         the allocation
                                                                             allocation of
                                                                                        of

assets and
assets and their
           their gains and losses
                 gains and        among the
                           losses among the accounts
                                            accounts of
                                                     of participants
                                                        participants and
                                                                     and any
                                                                         any other
                                                                             other matter
                                                                                   matter that
                                                                                          that the
                                                                                               the

Independent Auditor deems
Independent Auditor       necessary and
                    deems necessary and appropriate
                                        appropriate to
                                                    to investigate.
                                                       investigate.

                                      PRAYER FOR
                                      PRAYER     RELIEF
                                             FOR RELIEF

       WHEREFORE, Plaintiff
       WHEREFORE, Plaintiff prays
                            prays for:
                                  for:

       (A)
       (A)     A Declaration
               A Declaration that
                             that one
                                  one or
                                      or both
                                         both Defendants
                                              Defendants breached
                                                         breached their
                                                                  their fiduciary
                                                                        fiduciary duties by
                                                                                  duties by

failing to diversify
failing to diversify the
                     the Plan's
                         Plan’s investments appropriately;
                                investments appropriately;

       (B)
       (B)     A Declaration
               A Declaration that
                             that one
                                  one or
                                      or both
                                         both Defendants
                                              Defendants breached
                                                         breached their
                                                                  their fiduciary
                                                                        fiduciary duties by
                                                                                  duties by

failing to invest
failing to invest the
                  the Plan's
                      Plan’s assets
                             assets prudently;
                                    prudently;

       (C)
       (C)     A Declaration
               A Declaration that
                             that Defendants
                                  Defendants have
                                             have engaged
                                                  engaged in prohibited transactions;
                                                          in prohibited transactions;

       (D)
       (D)     A Declaration
               A Declaration that
                             that one
                                  one or
                                      or both
                                         both Defendants
                                              Defendants breached
                                                         breached their
                                                                  their fiduciary
                                                                        fiduciary duties by
                                                                                  duties by

requiring the
requiring the Plan
              Plan to
                   to pay
                      pay expenses;
                          expenses;

       (E)
       (E)     A Declaration
               A Declaration that
                             that Defendants'
                                  Defendants’ fiduciary breaches and
                                              fiduciary breaches and engaging in prohibited
                                                                     engaging in prohibited

transactions have
transactions have each
                  each damaged
                       damaged the
                               the Plan
                                   Plan and
                                        and caused
                                            caused it monetary losses;
                                                   it monetary losses;

       (F)
       (F)     A Declaration
               A Declaration of
                             of the
                                the amount
                                    amount of
                                           of monetary
                                              monetary losses the Plan
                                                       losses the Plan has
                                                                       has suffered
                                                                           suffered due
                                                                                    due to
                                                                                        to

Defendants’ fiduciary
Defendants'           breaches and
            fiduciary breaches and prohibited
                                   prohibited transactions;
                                              transactions;

       (G)
       (G)     An Order
               An Order compelling
                        compelling Defendants
                                   Defendants to
                                              to make
                                                 make good
                                                      good to
                                                           to the
                                                              the Plan
                                                                  Plan all
                                                                       all monetary
                                                                           monetary losses
                                                                                    losses

resulting from
resulting      Defendants’ breaches
          from Defendants' breaches and
                                    and prohibited
                                        prohibited transactions
                                                   transactions including
                                                                including appropriate
                                                                          appropriate interest;
                                                                                      interest;

       (H)
       al)     A Declaration
               A Declaration that
                             that Defendants
                                  Defendants have
                                             have improperly allocated investment
                                                  improperly allocated investment gains
                                                                                  gains and
                                                                                        and

losses,
losses, employer
        employer contributions, forfeitures and
                 contributions, forfeitures and expenses
                                                expenses among
                                                         among the
                                                               the accounts
                                                                   accounts of
                                                                            of Plaintiff
                                                                               Plaintiff and
                                                                                         and

class members;
class members;




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                                                 23
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         (I)
         (I)   An Order
               An Order requiring
                        requiring that
                                  that investment gains and
                                       investment gains and losses, employer contributions,
                                                            losses, employer contributions,

forfeitures and expenses
forfeitures and expenses be
                         be properly
                            properly allocated
                                     allocated among
                                               among the
                                                     the accounts
                                                         accounts of
                                                                  of Plaintiff
                                                                     Plaintiff and
                                                                               and class
                                                                                   class

members;
members;

         (J)
         (J)   A Declaration
               A Declaration that
                             that Defendants'
                                  Defendants’ fiduciary breaches warrant
                                              fiduciary breaches warrant their
                                                                         their removal
                                                                               removal as
                                                                                       as Plan
                                                                                          Plan

fiduciaries;
fiduciaries;

         (K)
         (K)   An Order
               An Order removing
                        removing Defendants
                                 Defendants as
                                            as Plan
                                               Plan fiduciaries;
                                                    fiduciaries;

         (L)
         (L)   An Order
               An Order appointing
                        appointing an
                                   an Independent Fiduciary for
                                      Independent Fiduciary for the
                                                                the Plan;
                                                                    Plan;

         (M)
         (M)   A Declaration
               A Declaration that
                             that aa comprehensive
                                     comprehensive independent
                                                   independent audit
                                                               audit of
                                                                     of the
                                                                        the Plan's
                                                                            Plan’s finances is
                                                                                   finances is

required due
required due to
             to Defendants'
                Defendants’ fiduciary
                            fiduciary breaches;
                                      breaches;

         (N)
         (N)   An Order:
               An Order: appointing
                         appointing an
                                    an Independent Auditor to
                                       Independent Auditor to conduct
                                                              conduct an
                                                                      an audit
                                                                         audit of
                                                                               of the
                                                                                  the Plan's
                                                                                      Plan’s

finances; setting forth
finances; setting       the scope
                  forth the scope of
                                  of that
                                     that audit;
                                          audit; and
                                                 and requiring
                                                     requiring the
                                                               the Company
                                                                   Company to
                                                                           to pay
                                                                              pay for the audit;
                                                                                  for the audit;

         (O)
         (O)   An Order
               An Order awarding
                        awarding Plaintiff
                                 Plaintiff his
                                           his costs pursuant to
                                               costs pursuant to ERISA
                                                                 ERISA §
                                                                       § 502(g), 29 U.S.C.
                                                                         502(g), 29 U.S.C. §
                                                                                           §

1132(g);
1132(g);

         (P)
         (P)   An Order
               An Order awarding
                        awarding Plaintiffs
                                 Plaintiff’s attorneys
                                             attorneys their
                                                       their fees pursuant to
                                                             fees pursuant to the
                                                                              the common
                                                                                  common fund
                                                                                         fund

doctrine, ERISA
doctrine, ERISA §
                § 502(g), 29 U.S.C.
                  502(g), 29 U.S.C. §
                                    § 1132(g),
                                      1132(g), and
                                               and other
                                                   other applicable
                                                         applicable law;
                                                                    law; and
                                                                         and

         (Q)
         (Q)   An Order
               An Order for
                        for surcharge,
                            surcharge, equitable
                                       equitable restitution and other
                                                 restitution and other appropriate
                                                                       appropriate equitable
                                                                                   equitable relief
                                                                                             relief

against Defendants.
against Defendants.

Dated:
Dated:     New York,
           New York, NY
                     NY
           December 27,
           December 27, 2021
                        2021                         Respectfully submitted,
                                                     Respectfully submitted,
                                                     Keller Rohrback L.L.P.
                                                     Keller Rohrback L.L.P.


                                                     By: /s/
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